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                                                                    ELECTRONICALLY FILED

                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION AT LEXINGTON

 IN RE CLASSICSTAR MARE                    )
 LEASE LITIGATION                          )
                                           )                    MDL NO. 1877
 AND                                       )
                                           )
 WEST HILLS FARMS, ET AL.,                 )               MASTER FILE:
                                           )      CIVIL ACTION NO. 5:07-CV-353-JMH
                PLAINTIFFS                 )
 V.                                        )                          AND
                                           )
                                           )     CIVIL ACTION NO. 5:06-CV-00243-JMH
 CLASSICSTAR, LLC, ET AL.                  )
                                           )
                DEFENDANTS                 )

                    DEFENDANTS’ PROPOSED JURY INSTRUCTIONS

        Defendants GeoStar Corporation, ClassicStar Farms, Inc., Tony Ferguson and Thom

 Robinson (collectively “Defendants”), through counsel and pursuant to the Court’s Scheduling

 Order, tender the attached proposed jury instructions. Defendants reserve the right to tender

 additional instructions or revisions if warranted at the close of the proof or at such other time as

 the Court may request. Defendants submit these proposed jury instructions without waiving the

 arguments they have made in their pending motions to dismiss and for summary judgment.
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                                     Respectfully submitted,



                                      /s/ Brian M. Johnson
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                                     Brian M. Johnson
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                                    INSTRUCTION NO. 1
                                   MEMBERS OF THE JURY

        Now that you have heard the evidence and the arguments, it becomes my duty to give

 you the instructions of the Court as to the law that you must apply.

        It is your duty as jurors to follow the law as I shall state it to you, and to apply that law to

 the facts as you find them from the evidence in the case. You are not to single out one

 instruction alone as stating the law, but must consider the instructions as a whole. Nor are you to

 be concerned with the wisdom of any rule of law stated by me.

        Counsel have properly referred to some of the governing rules of law in their arguments.

 If, however, any difference appears to you between the law as stated by counsel and that stated

 by the Court in these instructions, you are governed by the Court’s instructions.

        You must perform your duties as jurors without bias or prejudice as to any party. The

 law does not permit you to be governed by sympathy, prejudice or public opinion. All parties

 expect that you will carefully and impartially consider all of the evidence, follow the law as it is

 now being given to you, and reach a just verdict regardless of the consequences.1




        1
                O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 103.01,
 pp. 106-07 (5th ed., Vol. 3 2000).


                                                   1
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                                  INSTRUCTION NO. 2
                       EFFECT OF INSTRUCTIONS AS TO DAMAGES

        The fact that the Court will instruct you as to the proper measure of damages should not

 be considered as indicating any view of the Court as to which party is entitled to your verdict in

 this case. Instructions as to the measure of damages are given for your guidance only in the

 event you should find in favor of Plaintiffs on their claims.2




        2
                  O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 106.02,
 p. 186 (5th ed., Vol. 3 2000).


                                                   2
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                                      INSTRUCTION NO. 3
                                      BURDEN OF PROOF

           The burden is on Plaintiffs to prove every essential element of their claims by a

 preponderance of the evidence.

           The term “preponderance of the evidence” means to prove that something is more likely

 so than not so. In other words, a preponderance of the evidence means such evidence as, when

 considered and compared with the evidence opposed to it, has more convincing force, and

 produces in your minds belief that what is sought to be proved is more likely true than not true.

 This standard does not require proof to an absolute certainty, since proof to an absolute certainty

 is seldom possible in any case.

           In determining whether any fact in issue has been proved by a preponderance of the

 evidence you may, unless otherwise instructed, consider the testimony of all witnesses,

 regardless of who may have called them, and all exhibits received in evidence, regardless of who

 may have produced them.

           If the proof should fail to establish any essential element of Plaintiffs’ claims by a

 preponderance of the evidence in the case, you, the jury, should find for the Defendants as to that

 claim.3




           3
                  O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 104.01,
 p. 135 (5th ed., Vol. 3 2000).


                                                 3
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                                      INSTRUCTION NO. 4

                                    DUTY TO DELIBERATE

        The verdict must represent the considered opinion of each juror. It is your duty, as jurors,

 to consult with one another and to deliberate with a view to reaching an agreement, if you can do

 so without violence to individual judgment. You each must decide the case for yourself, but only

 after an impartial consideration of the evidence in the case with your fellow jurors. In the course

 of your deliberations, do not hesitate to reexamine your own views and change your opinion, if

 convinced it is erroneous. But do not surrender your honest conviction as to the weight or effect

 of evidence merely because of the opinion of your fellow jurors, or for the mere purpose of

 returning a verdict.4




        4
                  O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 106.01,
 p. 180 (5th ed., Vol. 3 2000).


                                                 4
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                                   INSTRUCTION NO. 5
                               CONSIDERATION OF EVIDENCE

        Unless you are otherwise instructed, the evidence in the case consists of the sworn

 testimony of the witnesses regardless of who called the witness, all exhibits received in evidence

 regardless of who may have produced them, and all facts and events that may have been

 admitted or stipulated to by the parties.

        Statements and arguments by the lawyers are not evidence.           The lawyers are not

 witnesses. What they have said in their opening statements, closing arguments, and at other

 times is intended to help you interpret the evidence, but it is not evidence. However, when the

 lawyers on both sides stipulate or agree on the existence of a fact, you must, unless otherwise

 instructed, accept the stipulation and regard that fact as proved.

        Any evidence to which I have sustained an objection and evidence that I have ordered

 stricken must be entirely disregarded.5




        5
                O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 103.30,
 pp. 121-22 (5th ed., Vol. 3 2000).


                                                   5
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                                     INSTRUCTION NO. 6
                                    WITNESS CREDIBILITY

        You, as jurors, are the sole judges of the credibility of the witnesses and the weight their

 testimony deserves. You may be guided by the appearance and conduct of the witness, or by the

 manner in which the witness testifies, or by the character of the testimony given, or by evidence

 to the contrary of the testimony given.

        You should carefully scrutinize all the testimony given, the circumstances under which

 each witness has testified, and every matter in evidence which tends to show whether a witness is

 worthy of belief. Consider each witness’ intelligence, motive and state of mind, and demeanor

 or manner while on the stand. Consider the witness’ ability to observe the matters as to which he

 or she has testified, and whether he or she impresses you as having an accurate recollection of

 these matters. Consider also any relation each witness may bear to either side of the case; the

 manner in which each witness might be affected by the verdict; and the extent to which, if at all,

 each witness is either supported or contradicted by other evidence in the case.

        Inconsistencies or discrepancies in the testimony of a witness, or between the testimony

 of different witnesses, may or may not cause the jury to discredit such testimony. Two or more

 persons witnessing an incident or a transaction may see or hear it differently, and innocent mis-

 recollection, like failure of recollection, is not an uncommon experience. In weighing the effect

 of a discrepancy, always consider whether it pertains to a matter of importance or an unimportant

 detail, and whether the discrepancy results from innocent error or intentional falsehood.

        After making your own judgment, you will give the testimony of each witness such

 weight, if any, as you may think it deserves.

        In short, you may accept or reject the testimony of any witness in whole or in part.




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        Also, the weight of the evidence is not necessarily determined by the number of

 witnesses testifying to the existence or non-existence of any fact. You may find that the

 testimony of a small number of witnesses as to any fact is more or less credible than the

 testimony of a larger number of witnesses to the contrary.6

        The law does not require any party to call as witnesses all person who may have been

 present at any time or place involved in the case, or who may appear to have some knowledge of

 the matters in issue at this trial. Nor does the law require any party to produce as exhibits all

 papers and things mentioned in the evidence of the case.7




        6
               O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 105.01,
              th
 pp. 161-62 (5 ed., Vol. 3 2000).
        7
         O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 105.11, p. 177
   th
 (5 ed., Vol. 3 2000).


                                                 7
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                                      INSTRUCTION NO. 7
                                      EXPERT WITNESSES

        The rules of evidence ordinarily do not permit witnesses to testify as to opinions or

 conclusions. An exception to this rule exists for “expert witnesses.” An expert witness is a

 person who, by education and experience has become expert in some art, science, profession or

 calling. Expert witnesses may state their opinions as to matters in which they profess to be

 expert, and may also state their reasons for their opinions.

        You should consider each expert opinion received in evidence in this case, and give it

 such weight as you think it deserves. If you should decide that the opinion of an expert witness

 is not based upon sufficient education and experience, or if you should conclude that the reasons

 given in support of the opinion are not sound, or if you feel that it is outweighed by other

 evidence, you may disregard the opinion entirely.8




        8
                O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 104.40,
 pp. 151-52 (5th ed., Vol. 3, 2000).


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                                       INSTRUCTION NO. 8
                                         IMPEACHMENT

        A witness may be discredited or impeached by contradictory evidence, or by evidence

 that at some other time the witness has said or done something, or has failed to say or do

 something, which is inconsistent with the witness’ present testimony, or by evidence that the

 character of the witness for truthfulness is bad.

        If you believe any witness has been impeached, and thus discredited, it is your exclusive

 province to give the testimony of that witness such credibility, if any, as you may think it

 deserves.

        If a witness is shown knowingly to have testified falsely concerning any material matter,

 you have a right to distrust such witness’ testimony in other matters and you may reject all of the

 testimony of that witness, or give it such credibility as you may think it deserves.

        An act or omission is “knowingly” done, if voluntarily and intentionally, and not because

 of mistake or accident or other innocent reason.9




        9
                O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 105.04,
 pp. 168-69 (5th ed., Vol. 3 2000).


                                                     9
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                                       INSTRUCTION NO. 9
                                          PROCEDURE

        You must follow the following rules while deliberating and returning your verdict:

        First, when you go to the jury room, you must select a foreperson. The foreperson will

 preside over your discussions and speak for you here in Court.

        Second, it is your duty, as jurors, to discuss this case with one another in the jury and try

 to reach agreement. Each of you must make your own conscientious decision, but only after you

 have considered all the evidence, discussed it fully with the other jurors, and listened to the

 views of the other jurors. Do not be afraid to change your opinions if the discussion persuades

 you that you should. But do not make a decision simply because other jurors think it is right, or

 simply to reach a verdict. Remember at all times that you are judges of the facts. Your sole

 interest is to seek the truth from the evidence in the case.

        Third, if you need to communicate with me during your deliberations, you may send a

 note to me through the marshal or bailiff, signed by one or more jurors. I will respond as soon as

 possible either in writing or orally in open court. Remember that you should not tell anyone,

 including me, how your votes stand numerically.

        Fourth, your verdict must be based solely on the evidence and on the law that I have

 given to you in instructions. Nothing I have said or done is intended to suggest what your verdict

 should be; that is entirely for you to decide. Nine or more of you must agree in order to answer

 the questions or make the determinations required by these instructions. The nine or more who

 agree on one answer, however, need not be the same jurors who agreed upon an answer to

 another question. If all twelve of you agree on the answers to the questions and determinations

 to which you are required to respond, the foreperson alone can sign for you. Each answer or




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 response on which the verdict is not unanimous must be signed by the nine or more of you who

 agree.

          Finally, the verdict form is simply the written notice of the decision that you reach in this

 case. You will take this form to the jury room, and when each of you has agreed on the verdict,

 your foreperson will fill in the proper form, sign and date it, and advise the marshal or bailiff that

 you are ready to return to the courtroom.10




          10
                O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 103.50,
 pp. 130-31 (5th ed., Vol. 3, 2000).


                                                   11
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                                        LIST OF PARTIES

        Throughout this trial, there were a number of parties named and identified. For your

 reference, I have listed all the relevant parties named in this action below.

 West Hills Farms, LLC (“West Hills”)                David Plummer (“Plummer”)

 Arbor Farms, LLC (“Arbor”)                          Spencer Plummer (“Spencer”)

 Nelson Breeders, LLC (“Nelson”)                     ClassicStar Thoroughbreds, LLC (“ClassicStar

                                                     Thoroughbreds”)

 MacDonald Stables, LLC (“MacDonald”)                Karren Hendrix Stagg Allen & Co. (“KHSA”)

 Jaswinder & Monica Grover                           Thom Robinson

 ClassicStar, LLC (“ClassicStar”)                    John Parrott

 ClassicStar Farms, LLC (“ClassicStar Farms”)        First Equine Energy Partners, LLC (“FEEP”)

 ClassicStar 2004, LLC (“ClassicStar 2004”)          Strategic Opportunity Solutions, LLC d/b/a

                                                     Buffalo Ranch (“Buffalo Ranch”)

 National Equine Lending Company, LLC ClassicStar 2005 Powerfoal Stables, LLC

 (“NELC”)                                            (“ClassicStar Powerfoal”)

 New NEL, LLC (“New NEL”)                            ClassicStar Farms, Inc. (“CFI”)

 GeoStar Corporation (“GeoStar”)                     GeoStar    Financial        Services   Corporation

                                                     (“GFSC”)

 GeoStar Equine Energy, Inc. (“GEEI”)                Gastar Exploration, Ltd. (“Gastar”)

 Tony Ferguson                                       Zeus Investments, LLC (“Zeus”)




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                                          RICO CLAIMS

        The Plaintiffs have brought claims against Defendants ClassicStar, ClassicStar Farms,

 ClassicStar 2004, CFI, NELC, New NEL, GeoStar, Gastar, Parrott, Robinson, Ferguson,

 Plummer and Spencer (collectively “RICO Defendants”) for alleged violations of the Racketeer

 Influenced and Corrupt Organizations Act, commonly referred to as RICO. Specifically, the

 Plaintiffs claim that each RICO Defendant violated Section 1962 (a), (c) and (d) of RICO.

        Although RICO uses the terms “racketeer,” “racketeering,” and “corrupt organizations,”

 Congress did not mean that plaintiff must prove that defendant is a “racketeer” or a member of

 what is commonly referred to as “organized crime” in order to recover damages. You should not

 assume that the RICO Defendants or their employees are “racketeers” because RICO Defendants

 have been sued under RICO as those concepts do not apply in this case.

        The Plaintiffs must establish by a preponderance of the evidence every element of a

 RICO claim. You should consider each and every element of a RICO cause of action only in the

 precise way that I will define them in these instructions. You must avoid confusing any of the

 elements of a RICO claim with your prior conceptions of the meaning of the terms that are used

 to describe the elements of a RICO claim.

        Finally, the use of the terms “racketeering,” “racketeer,” or “corrupt organization” in

 RICO and during this trial should not be thought of as having anything to do with your

 determination of whether Plaintiffs have established the elements of their claim.11




        11
                O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.01,
 pp. 106-07 (5th ed., Vol. 3B, 2000).


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                                 RELEVANT RICO STATUTES

         Section 1962(a) of Title 18 of the United States Code, the RICO Act, provides that:

         It shall be unlawful for any person who has received any income derived, directly
         or indirectly, from a pattern of racketeering activity or through collection of an
         unlawful debt in which such person has participated as a principal within the
         meaning of section 2, title 18, United States Code, to use or invest, directly or
         indirectly, any part of such income, or the proceeds of such income, in acquisition
         of any interest in, or the establishment or operation of, any enterprise which is
         engaged in, or the activities of which affect, interstate or foreign commerce. [A
         purchase of securities on the open market for purposes of investment, and without
         the intention of controlling or participating in the control of the issuer, or of
         assisting another to do so, shall not be unlawful under this subsection if the
         securities of the issuer held by the purchaser, the members of his immediate
         family, and his or their accomplices in any pattern or racketeering activity or the
         collection of an unlawful debt after such purchase do not amount in the aggregate
         to one percent of the outstanding securities of any one class, and do not confer,
         either in law or in fact, the power to elect one or more directors of the issuer.]

         Section 1962(c) of Title 18 of the United States Code, the RICO Act, provides that:

         It shall be unlawful for any person employed by or associated with any enterprise
         engaged in, or the activities of which affect, interstate or foreign commerce, to
         conduct or participate, directly or indirectly, in the conduct of such enterprise's
         affairs through a pattern of racketeering activity or collection of an unlawful debt.

         Section 1962(d) of Title 18 of the United States Code, the RICO Act, provides that:

         It shall be unlawful for any person to conspire to violate any of the provisions of
         [18 U.S.C.A. § 1962(a), (b), or (c)].

         The mail fraud statute, Section 1341 of Title 18 of the United States Code, provides in

 pertinent part, that:

         Whoever, having devised or intending to devise any scheme or artifice to defraud,
         or for obtaining money or property by means of false or fraudulent pretenses,
         representations, or promises … for the purpose of executing such scheme or
         artifice or attempting so to do, places in any post office or authorized depository
         for mail matter, any matter or thing whatever to be sent or delivered by the Post
         Office Department, [shall be guilty of an offense against the laws of the United
         States].

         The wire fraud statute, Section 1343 of Title 18 of the United States Code, provides in

 pertinent part, that:


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       Whoever, having devised or intending to devise any scheme or artifice to defraud,
       or for obtaining money or property by means of false or fraudulent pretenses,
       representations, or promises, transmits or causes to be transmitted by means of
       wire, radio, or television communication in interstate or foreign commerce, any
       writings, signs, signals, pictures, or sounds for the purpose of executing such
       scheme or artifice, shall be fined under this title or imprisoned not more than five
       years, or both. If the violation affects a financial institution, such person shall be
       fined not more than $1,000,000, or imprisoned not more than 30 years, or both.




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                               SECTION 1962(A): ELEMENTS

        Plaintiffs claim that RICO Defendants’ actions injured Plaintiffs in violation of 18

 U.S.C.A. § 1962(a). Section 1962(a) requires that RICO Defendants be persons who derived

 income directly or indirectly from a pattern of racketeering activity in which RICO Defendants

 participated as principals.

        In order to prevail under Section 1962(a), Plaintiffs must prove by a preponderance of

 evidence that:

        (1)      RICO Defendants are persons who received income from a pattern of
        racketeering activity in which RICO Defendants have participated as a principal
        as that term is used in 18 U.S.C.A. § 2;

        (2)     RICO Defendants invested or used all or part of that income in an
        enterprise;

        (3)     The enterprise was engaged in, or the activities of the enterprise affected,
        interstate or foreign commerce; and

        (4)   Plaintiffs’ business or property was injured by reason of RICO
        Defendants’ use of or investment of the income in the enterprise.

 A person is liable as a principal if that person personally commits an act or aids and abets one

 who does. A person aids or abets another in the commission of an act if the person knowingly

 helped commit the act, intended to do so, and took some steps to assist in the commission of the

 act before it was complete.

        It is not enough that RICO Defendants simply associated with the person who committed

 the act, were present at the time the act took place, or even did helpful things to the person or

 persons who committed the act. The evidence must show that each RICO Defendant acted with




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 the purpose of helping to commit a pattern of racketeering activity, or was reckless in

 disregarding the existence of the fraud.12




        12
                O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.16,
 pp. 111-25 (5th ed., Vol. 3B, 2000).


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                                  SECTION 1962(C): ELEMENTS

         Plaintiffs have also alleged that RICO Defendants have violated Section 1962(c) of

 RICO. To establish that RICO Defendants have violated Section 1962(c), Plaintiffs must prove

 each of the following five elements by a preponderance of the evidence:

         1.      That an “enterprise” existed;

         2.     That the enterprise engaged in, or had some effect upon, interstate or
         foreign commerce;

         3.     That the RICO Defendants were employed by or associated with the
         alleged enterprise;

         4.      That the RICO Defendants knowingly and willfully conducted or
         participated, directly or indirectly, in the conduct of the affairs of the alleged
         enterprise; and

         5.      That the RICO Defendants did so knowingly and willfully through a
         pattern of racketeering activity.

         “Employed by or associated with” means some minimal association with the alleged

 enterprise. The RICO Defendants must know something about the alleged enterprise's activities

 as they relate to the racketeering activity.

         The fourth and fifth elements require that Plaintiffs prove by a preponderance of the

 evidence that RICO Defendants knowingly and willfully conducted or participated in the

 conducting of the affairs of the alleged enterprise through a pattern of racketeering activity.

 Plaintiffs must prove by a preponderance of the evidence a sufficient connection between the

 enterprise, the RICO Defendants, and the alleged pattern of racketeering activity. In order to

 establish a sufficient connection between the enterprise, the RICO Defendants and the alleged

 pattern of racketeering activity, Plaintiffs must prove by a preponderance of the evidence:

         1.      That RICO Defendants participated in the operation or management of the
         enterprise itself in such a way, directly or indirectly, as to have played some part
         in directing the affairs of the enterprise.




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        2.      That RICO Defendants in fact engaged in the pattern of racketeering
        activity as the Plaintiffs claim;

        3.       That RICO Defendants’ association with or employment by the enterprise
        facilitated their commission of the racketeering acts; and

        4.      That the commission of these predicate acts had some direct or indirect
        effect on the alleged enterprise.

 A person does not violate the law by merely associating with or being employed by an otherwise

 lawful enterprise the affairs of which are being conducted by others through a pattern of

 racketeering activity in which he is not personally engaged.13




        13
                Id.


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                                SECTION 1962(D): ELEMENTS

        Plaintiffs also claim that RICO Defendants violated Section 1962(d) of RICO because

 they agreed or conspired to violate the RICO law. A “conspiracy” in this sense is a combination

 or agreement of two or more persons to join together to accomplish an offense which would be

 in violation of Section 1962(a), (b), and/or (c) under the law that I have given you with respect to

 those sections.

        To establish a violation of Section 1962(d), Plaintiffs must prove by a preponderance of

 the evidence:

        1.      That two or more persons in some way or manner came to a mutual
        understanding to attempt to accomplish a common and unlawful plan, that is that
        while being employed by or associated with an enterprise, they engaged in
        activities which affected interstate or foreign commerce, or conducted the affairs
        of the alleged enterprise through a pattern of racketeering activity, in the manner
        charged; and

        2.      That RICO Defendants knowingly and willfully became members of a
        conspiracy by objectively indicating, through their words or actions, their
        agreement to conduct or participate, directly or indirectly, in the conduct of the
        affairs of an enterprise through a pattern of racketeering activity; and

        3.     That at least one of the conspirators committed at least one overt act
        during the existence of a conspiracy in an effort to accomplish some object or
        purpose of the conspiracy.

        In regard to the first element of the claim of conspiracy, the evidence in the case need not

 show that the alleged members of the conspiracy entered into any express or formal agreement,

 or that they directly stated between themselves the details of the scheme and its object or purpose

 or the precise means by which the object or purpose was to be accomplished. Similarly, the

 evidence in the case need not establish that all of the means or methods alleged were in fact

 agreed upon to carry out the alleged conspiracy, or that all of the means or methods which were

 agreed upon were actually used or put into operation. Plaintiffs are not required to prove that all




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 of the persons charged with being members of the conspiracy were such or that the alleged

 conspirators actually succeeded in accomplishing their unlawful objectives.

        On the other hand, it is not enough if the evidence shows only that the alleged

 conspirators agreed to commit the acts of racketeering alleged by the Plaintiffs, without more, or

 that they agreed merely to participate in the affairs of the same alleged enterprise. Instead, the

 Plaintiffs must prove by a preponderance of the evidence that the alleged conspirators agreed to

 conduct or participate in the conduct of the affairs of the alleged enterprise and that they further

 agreed that their individual participations would be through two or more racketeering acts in

 furtherance of the affairs of the alleged enterprise.       It does not matter that the alleged

 conspirators participated in the conduct of the affairs of the alleged enterprise through different,

 dissimilar or otherwise unrelated acts of racketeering activity, so long as the alleged racketeering

 acts would, if they were actually committed, create a “pattern of racketeering activity” as I

 defined that phrase to you.

        As to the second element of the alleged conspiracy violation - knowing and willful

 membership in the conspiracy - the Plaintiffs must prove by a preponderance of the evidence:

        1. That RICO Defendants knew that the basic object of the alleged conspiracy was
        conducting the alleged enterprise through a pattern of racketeering activity;

        2. That RICO Defendants knowingly and willfully agreed to personally commit,
        or aid and abet the commission of at least two acts of racketeering as a “pattern of
        racketeering activity” as I have defined it; and

        3. That RICO Defendants knowingly and willfully agreed to conduct or
        participate in the conduct of the affairs of the alleged enterprise through this
        pattern of racketeering activity.

        One may become a member of a conspiracy without full knowledge of all of the details of

 the unlawful scheme or without knowledge of the names and identities of all of the other alleged

 conspirators. If Plaintiffs prove by a preponderance of the evidence that the particular RICO



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 Defendant has knowingly and willfully joined the alleged conspiracy under the three standards I

 have just set forth, it does not matter that the RICO Defendant may not have participated in the

 earlier stages of the alleged conspiracy or scheme.

        However, mere presence at the scene of some transaction or event, or mere similarity of

 conduct among various persons and the fact that they may have associated with each other, and

 may have assembled together and discussed common aims and interests, does not necessarily

 prove the existence of a conspiracy. Also, a person who has no knowledge of a conspiracy, but

 who happens to act in a way which advances some object or purpose of a conspiracy, does not

 thereby become a conspirator.

        Plaintiffs need not prove that RICO Defendants actually committed any of the acts that

 they may have agreed to commit in order to establish their membership in the conspiracy. You

 may consider only those racketeering acts alleged against the particular defendant by Plaintiffs in

 determining whether that RICO Defendant has agreed to commit two acts of racketeering

 activity as a “pattern of racketeering activity.”

        To establish the third element, Plaintiffs must prove by a preponderance of the evidence

 that at least one of the alleged conspirators committed at least one “overt act” during the

 existence of the alleged conspiracy. An “overt act” is a transaction or event, even one which

 may be entirely legal and innocent when considered alone, but which is knowingly committed by

 a conspirator in an effort to accomplish some object of the conspiracy. However, in accordance

 with my instructions during the trial, you may not consider any evidence of any alleged wrongful

 act, other than the alleged wrongful act which the plaintiff contends is a specific violation, as in

 any way bearing on the character of any defendant or as an indication that any defendant may

 have a propensity to commit any of the offenses charged.




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        In your consideration of this conspiracy claim, you should first determine whether the

 alleged conspiracy existed. If you conclude that a conspiracy did exist as alleged, you should

 next determine whether or not the defendant under consideration willfully became a member of

 that conspiracy.

        In determining whether there was a conspiracy you may consider all the evidence in the

 case. If you find that there was a conspiracy then you may attribute the statements or acts of the

 co-conspirators to the RICO Defendants. If you find that there was no conspiracy then you may

 not attribute the statements or acts of the alleged co-conspirators to the RICO Defendants.

        If you find that no such conspiracy existed, then you must find for the RICO Defendants.

 However, if you are satisfied that such a conspiracy existed, you must determine who were the

 members of that conspiracy.

        If you find that a particular RICO Defendant is a member of another conspiracy, but not

 the one charged by the Plaintiffs, then you must find for that RICO Defendant. In other words,

 you cannot find that a RICO Defendant violated Section 1962(d) unless you find that he was a

 member of the conspiracy charged, and not some other separate conspiracy.14




        14
                Id.


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                                          PREDICATE ACTS

         In order to establish that mail fraud has been committed for purposes of this case,

 Plaintiffs must show by a preponderance of the evidence that:

         (1)    RICO Defendant willfully and knowingly participated in a scheme to
         defraud Plaintiffs;

         (2)       RICO Defendant did so with an intent to defraud; and

         (3)   RICO Defendant used the U.S. mails for the purpose of executing the
         scheme to defraud.15

         Each separate use of the mails in furtherance of a scheme to defraud constitutes a

 separate racketeering activity. Mail fraud as a racketeering activity may be established without

 proof that one or more of the defendants personally did every act constituting mail fraud. The

 law recognizes that, ordinarily, anything a person can do for himself may also be accomplished

 by that person through direction of another person as an agent, or by acting in concert with, or

 under the direction of, another person or persons in a joint effort. Title 18, United States Code,

 Section 2 provides that whoever commits mail fraud or aids, abets, counsels, commands,

 induces, or procures its commission, is liable as a principal. Section 2 also provides that

 whoever willfully causes an act to be done, which if directly performed by him or another would

 be mail fraud, is liable as a principal.16

         Plaintiffs must prove the RICO Defendants committed the following in order to establish

 a violation of the federal wire fraud statute:

         (1)       RICO Defendants willfully participated in a scheme to defraud plaintiff;

         (2)       RICO Defendants did so with an intent to defraud; and

         15
               O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.24,
              th
 pp. 141 (5 ed., Vol. 3B, 2000).
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.25, p. 143
         16

   th
 (5 ed., Vol. 3B, 2000).


                                                   24
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        (3)     RICO Defendants made interstate telephone calls or used radio communications

 for the purpose of executing the scheme or plan to defraud.17




        17
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.26, p. 144
   th
 (5 ed., Vol. 3B, 2000).


                                                 25
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                                        RICO DEFINITIONS

         A “person” under the law includes but is not limited to any person or entity that is

 capable of holding a legal or beneficial interest in property. A corporation is a legal entity that,

 like a person, is capable of holding a legal or beneficial interest in property.18

         The term “enterprise” includes any individual, partnership, corporation, association, or

 other legal entity. An enterprise “affects interstate or foreign commerce” if the enterprise either

 engages in, or has an effect on commerce between the states or between the states and foreign

 countries.19

         Plaintiffs claim that the following were enterprises affecting interstate or foreign

 commerce, and that RICO Defendants participated in one of these enterprises through a pattern

 of racketeering activity, as that term will be defined for you.

         1.      ClassicStar, LLC


         2.      ClassicStar 2004, LLC


         3.      ClassicStar Farms, LLC


         4.      GeoStar Corporation


         5.      ClassicStar Association In Fact


 An enterprise “affects interstate or foreign commerce” if the enterprise either engages in or

 pursues activities affecting or having a potential effect on commerce between the states or



          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE
         18
                                                                    AND INSTRUCTIONS   § 161.40, pp.
 144-45 (5th ed., Vol. 3B, 2000).
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.41, p. 145
         19

   th
 (5 ed., Vol. 3B, 2000).


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 between the states and foreign countries. Thus, if you find that one of these enterprises met these

 requirements, you may find that it was an enterprise affecting interstate or foreign commerce.20

        “Employed by or associated with” means that a defendant must have at least a minimal

 association with the enterprise.     A defendant must know something about the enterprise's

 activities as they relate to the racketeering activity, but it is not necessary that a defendant be

 aware of all racketeering activities of each of the participants in the enterprise. To “participate in

 the conduct of the enterprise's affairs” requires that a person has conducted or participated,

 directly or indirectly, in the conduct of the enterprise's affairs through a pattern of racketeering

 activity. To participate, directly or indirectly, in the conduct of the enterprise's affairs, the

 defendant must participate in the operation or management of the enterprise itself. Although

 plaintiff is not required to prove that defendant had primary responsibility for the enterprise's

 affairs, some part in directing or controlling the enterprise's affairs is required. An enterprise is

 operated not just by upper management, but also by lower level participants in the enterprise who

 are under the direction of upper management. An enterprise might also be operated or managed

 by others associated with the enterprise who exert some degree of control over it.21

        In an action under Section 1962(a), the law requires that defendant “use[d] or invest[ed],

 directly or indirectly, any part of such income, or the proceeds of such income, in acquisition of

 any interest in, or the establishment or operation of” the enterprise. To “acquire an interest in”

 means to obtain, receive, or gain in whatever manner a right, claim, title, or legal share in

 something. To “establish” means to found or create. To “operate” means to conduct the affairs

 of or to manage. RICO Defendants must do more than simply acquire an interest in, establish, or

        20
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.42, p. 146
   th
 (5 ed., Vol. 3B, 2000).
        21
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE            AND INSTRUCTIONS     § 161.43, pp.
 147-48 (5th ed., Vol. 3B, 2000).


                                                  27
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 operate the enterprise. Section 1962(a) is violated only if these acts were accomplished through

 the use or investment, directly or indirectly, of income obtained from the pattern of racketeering

 activity or the proceeds of such income. Section 1962(a) is not violated if RICO Defendants

 used income obtained from sources other than the pattern of racketeering activity to acquire an

 interest in, or to establish or operate, the enterprise.22

         A “racketeering activity” means an act in violation of the federal mail, wire or securities

 fraud statutes. You will be instructed on the law pertaining to these statutes to guide you in

 determining whether the Plaintiffs proved by a preponderance of the evidence that a RICO

 Defendant committed one or more violations of these statutes. A “racketeering activity” may

 also be referred to as a “predicate offense.”23

         A “pattern of racketeering activity” requires that the plaintiff prove that a defendant

 committed at least two acts of “racketeering activity” within ten years of each other. The proof

 of two or more predicate acts does not in and of itself establish a “pattern” under RICO. The two

 acts need not be of the same kind. For example, the acts may be one act of mail fraud and one

 act of wire fraud. However, you must find by a preponderance of the evidence that the two acts

 occurred within the time specified and that each was connected with the other by some common

 scheme, plan or motive so as to constitute a “pattern.” A series of wholly separate, isolated or

 disconnected acts of racketeering activity does not constitute a pattern.24




          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.45, p. 151
         22

   th
 (5 ed., Vol. 3B, 2000).
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE
         23
                                                                   AND INSTRUCTIONS   § 161.46, pp.
 151-52 (5th ed., Vol. 3B, 2000).
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE
         24
                                                                   AND INSTRUCTIONS   § 161.47, pp.
 153-54 (5th ed., Vol. 3B, 2000).


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        In other words, two or more otherwise unrelated acts of “racketeering activity” do not

 constitute a “pattern” of racketeering activity under RICO unless the acts all relate to a common

 scheme by the defendant to continually conduct the affairs of the alleged enterprise for illicit

 personal benefit, whether monetary or otherwise, for himself or for another, by committing the

 predicate offenses.25

        As I instructed you, “racketeering activity” means an act in violation of the mail, wire

 and/or securities fraud statutes.   However you may not consider just any racketeering act

 allegedly committed by a RICO Defendant in violation of one of these statutes as bearing on the

 question of whether a defendant has committed two or more predicate offenses as a pattern of

 racketeering activity. In making this determination, you are to consider only those specific

 racketeering acts alleged by the plaintiff against a particular defendant. Further, you cannot find

 that the defendant has engaged in a “pattern of racketeering activity” unless you unanimously

 agree to which of the alleged predicate offenses, if any, make up the pattern. Thus, it would not

 be sufficient if some of you should find that a RICO Defendant committed a violation of two or

 more predicate offenses under one particular statute as a pattern and the rest of you should find

 that a RICO Defendant committed a violation of two or more predicate acts under another statute

 as a pattern. In other words, you may not find that the defendant has engaged in a pattern of

 racketeering activity unless you (1) find a “pattern” of predicate offenses and (2) find that

 Plaintiffs have established by a preponderance of the evidence that a RICO Defendant committed

 each of the two or more predicate offenses that you find are necessary to make up the pattern.26



        25
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.48, p. 157
   th
 (5 ed., Vol. 3B, 2000).
        26
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE          AND INSTRUCTIONS     § 161.16, pp.
 111-25 (5th ed., Vol. 3B, 2000).


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        It is necessary that Plaintiffs prove RICO Defendants committed an overt act in

 furtherance of the object of the conspiracy. An overt act is any transaction or event that may be

 entirely innocent when considered alone, but that is committed by a conspirator in an effort to

 accomplish some object of the conspiracy.27

        You should note that the pattern must be one in which the RICO Defendant has

 participated as a “principal.” Thus in order to satisfy the second element, the Plaintiffs must

 prove the RICO Defendant was a “principal” by showing by a preponderance of the evidence:

        1. That RICO Defendants knowingly and willfully committed, or knowingly and
        willfully aided and abetted in the commission of two or more alleged predicate
        offenses that constitute the alleged pattern of racketeering activity, and

        2. That RICO Defendants knowingly and willfully received income derived,
        directly or indirectly, from that alleged pattern of racketeering activity.

 Plaintiff contends that RICO Defendants violated RICO by committing acts of mail fraud

 constituting a pattern of racketeering activity. In determining whether a pattern of racketeering

 activity has been proved, you may consider only RICO Defendants’ deceptive or fraudulent

 activity. You may not consider innocent mailings although they may have continued for a

 substantial period of time.28

        The word “knowingly,” as that term has been used in these instructions, means that the

 action was done voluntarily and intentionally and not because of mistake or accident.29




        27
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.51, p. 159
   th
 (5 ed., Vol. 3B, 2000).
        28
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE         AND INSTRUCTIONS     § 161.16, pp.
 111-25 (5th ed., Vol. 3B, 2000).
        29
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.52, p. 159
   th
 (5 ed., Vol. 3B, 2000).


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        The word “willfully,” as that term has been used in these instructions, means that the

 action was committed voluntarily and purposely, with the specific intent to do something the law

 forbids. The action must be done with a bad purpose: either to disobey or disregard the law.30

        Plaintiffs have alleged that each of the RICO Defendants has committed two or more

 predicate acts including violations of the mail fraud and wire fraud statutes. It is your function to

 decide whether Plaintiffs have proved by a preponderance of the evidence as to each RICO

 Defendant whether that RICO Defendant violated either or both of those statutes on one or more

 occasions, if at all. To establish that mail fraud has been committed, Plaintiffs must prove each

 of the following by a preponderance of the evidence as to each defendant so charged:

        1. Some person or persons willfully and knowingly devised a scheme or artifice
        to defraud, or a scheme for obtaining money or property by means of false
        pretenses, representations or promises, and

        2. Some person or persons used the United States Postal Service by mailing, or
        by causing to be mailed, some matter or thing for the purpose of executing the
        scheme to defraud.31

        To act with “intent to defraud” means to act knowingly and with the specific intent to

 deceive. The words “scheme” and “artifice” in the mail fraud statute include any plan or course

 of action intended to deceive others, and to obtain property by false or fraudulent pretenses,

 representations, or promises, from the persons so deceived.32

        A statement or representation is “false” or “fraudulent” within the meaning of the mail

 fraud statute if it relates to a material fact and is known to be untrue or is made with reckless



        30
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.53, p. 160
   th
 (5 ed., Vol. 3B, 2000).
        31
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE           AND INSTRUCTIONS     § 161.16, pp.
 111-25 (5th ed., Vol. 3B, 2000).
        32
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE           AND INSTRUCTIONS     § 161.54, pp.
 160-61 (5th ed., Vol. 3B, 2000).


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 indifference as to its truth or falsity, and is made or caused to be made with intent to defraud. A

 statement or representation may also be “false” or “fraudulent” if it constitutes a half truth, or

 effectively conceals a material fact, with intent to defraud. A material fact is a fact that would be

 important to a reasonable person in deciding whether to engage in a particular transaction. A

 “material fact” is a fact that would be important to a reasonable person in deciding whether to

 engage or not engage in a particular transaction. Good faith constitutes a complete defense to

 mail fraud. It is not necessary that Plaintiffs prove: (1) all of the details concerning the precise

 nature and purpose of the scheme, or; (2) that the material was itself false or fraudulent, or; (3)

 that the alleged scheme actually succeeded in defrauding anyone, or; (4) that the use of the mail

 was intended as the specific or exclusive means of accomplishing the alleged fraud. What must

 be shown by a preponderance of the evidence is that defendant knowingly and willfully devised

 or intended to devise a scheme to defraud substantially the same as the one alleged by Plaintiffs.

 It also must be shown that the use of the U.S. mail was closely related to the scheme in that one

 or more of the RICO Defendants either mailed something or caused it to be mailed in an attempt

 to execute or carry out the scheme. To “cause” the mails to be used is to do an act with

 knowledge that the use of the mails will follow in the ordinary course of business or where such

 use can reasonably be foreseen. Even if you find RICO Defendants misstated or omitted to state

 certain facts, if RICO Defendants believed in good faith that the statements made were true at the

 time of mailing there is no mail fraud.33




        33
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE           AND INSTRUCTIONS     § 161.55, pp.
 161-62 (5th ed., Vol. 3B, 2000).


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        A false statement is “material” if it has the natural tendency to influence, or is capable of

 influencing, the decision of the person to whom it was addressed.34

        To establish fraudulent intent on the part of any person for purposes of the mail and wire

 fraud statutes, it must be established that such person knowingly and intentionally attempted to

 deceive another. One who knowingly and intentionally deceives another is chargeable with

 fraudulent intent, notwithstanding the manner and form in which the deception was attempted.

 To act with an “intent to defraud” means to act knowingly and with specific intent to deceive,

 ordinarily for the purpose of causing some financial loss to another, or to bring about some

 financial gain to one's self. An intent to defraud may be inferred from a RICO Defendant’s

 statements or conduct. The words “scheme” and “artifice,” as used in the mail and wire fraud

 statutes, include any plan or course of action intended to deceive another, or to obtain, by false or

 fraudulent pretenses, representations, or promises, money, or property from persons so deceived.

 A statement or representation is “false” or “fraudulent,” within the meaning of the mail and wire

 fraud statutes, if it relates to a material fact and is known to be untrue, or if it is made with

 reckless indifference as to its truth or falsity, and is made or caused to be made with intent to

 defraud. A statement or representation may also be “false” or “fraudulent” when it constitutes a

 half truth, or effectively conceals a material fact, with intent to defraud. It is not necessary that

 Plaintiffs prove all of the details concerning the precise nature and purpose of the scheme or

 plan; or that the material mailed was itself false or fraudulent; or that the alleged scheme actually




        34
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.56, p. 163
   th
 (5 ed., Vol. 3B, 2000).


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 succeeded in defrauding anyone; or that the use of the mail, the telephone, or the radio was

 intended as the specific or exclusive means of accomplishing the alleged fraud.35

        Within the meaning of the mail or wire fraud statute, “to defraud” means to use dishonest

 methods or schemes and usually signifies the deprivation of something of value by trick, deceit,

 chicane, or overreaching.36




        35
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE         AND INSTRUCTIONS     § 161.57, pp.
 163-64 (5th ed., Vol. 3B, 2000).
        36
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.59, p. 168
   th
 (5 ed., Vol. 3B, 2000).


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                                           CAUSATION37

        In order for Plaintiffs to prevail under RICO, Plaintiffs must prove by a preponderance of

 the evidence that RICO Defendants’ RICO violations were the proximate cause of injury to

 Plaintiffs’ business or property. Accordingly, you must find that Plaintiffs suffered an injury to

 their business or property and that the injury was proximately caused by RICO Defendants’

 violation of RICO. An injury or damage is proximately caused when the act played a substantial

 part in bringing about or actually causing injury or damage, and that the injury or damage was

 either a direct result or a reasonably probable consequence of the act. A person is injured in the

 person's business when the person suffers loss of money or profits or a reduction in the value or

 worth of the person's business. A finding that the Plaintiffs were injured in their business or

 property because of the RICO Defendants’ violation of RICO requires only that you find

 Plaintiffs were harmed by the predicate acts of RICO Defendants. However, to find that injury

 to the Plaintiffs’ business or property were caused by reason of the RICO Defendants’ violation

 of RICO, you must find that the injury to Plaintiffs were caused by, and was a direct result of, the

 RICO Defendants’ violation of either Section 1962(a) or (b) or (c). Therefore, you must find that

 RICO Defendants’ commission of the acts of racketeering, or the pattern of racketeering activity,

 or the conduct of the affairs of the enterprise through the pattern of racketeering activity directly

 resulted in the injury or played a substantial role in producing Plaintiffs’ injury. In order to

 establish that the RICO Defendants’ acts proximately caused Plaintiffs’ injuries, they must prove

 that they reasonably relied on the RICO Defendants’ purported fraudulent acts.




        37
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE           AND INSTRUCTIONS     § 161.70, pp.
 170-71 (5th ed., Vol. 3B, 2000).


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                                          DEFENSES38

        RICO Defendants generally deny the existence of a RICO “enterprise” as I have

 previously defined that term for you. RICO Defendants also deny that they committed any of the

 predicate acts necessary to give rise to a RICO violation. RICO Defendants specifically deny

 that they invested income in a RICO enterprise as required by 1962(a), and further point out that

 Plaintiffs argument that money was diverted from ClassicStar is inconsistent with this claim.

 RICO Defendants further deny that Plaintiffs reasonably relied on any of the alleged fraudulent

 acts and state that you should consider Plaintiffs own motivations for participating in the

 ClassicStar Mare Lease Program in considering the validity of their claims.




        38
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.80, p. 173
   th
 (5 ed., Vol. 3B, 2000).


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                                          DAMAGES39

        In considering the issue of Plaintiffs’ damages, if any, with respect to the RICO claims,

 you should assess the amount you find to be justified by a preponderance of the evidence as full,

 just and reasonable compensation for all of the damages to Plaintiffs in their business or

 property, no more and no less. Damages may not be based on speculation because it is only

 actual damages - what the law calls compensatory damages - that you are to determine.

        Under Section 1964(c), Plaintiffs may recover only for injury to their business or

 property. Injury to business may include lost profits and expenses incurred in connection with

 RICO Defendants’ RICO violation and decrease in the value or worth of the business or property

 itself. Injury to property includes the value of any personal or real property that has been

 diminished in value by the RICO Defendants’ alleged actions.

        Because Section 1964(c) limits Plaintiffs’ recovery to business or property injuries, you

 may not compensate Plaintiffs for other losses, such as personal injuries or emotional harm.

        In considering the issue of damages, if any, with respect to the RICO claims, you must

 assess the amount you find justified by a preponderance of the evidence as full, just and

 reasonable compensation for all of the damages to the Plaintiffs in their business or property.

 Damages may not be based on speculation because it is only actual damages, what the law calls

 compensatory damages, that you are to determine.

        You should consider the amount of damages, if any, as to each RICO Defendant with

 respect to each RICO claim separately and independently from the amount of damages, if any,

 with respect to the other, non-RICO claims. For example, if you determine that damages should

 be awarded to the Plaintiffs under their RICO claim, you should award full, just and reasonable

        39
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE         AND INSTRUCTIONS     § 161.90, pp.
 173-74 (5th ed., Vol. 3B, 2000).


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 compensation for damages under the RICO claim, without regard to the damages, if any, you

 might award under any other claim brought by Plaintiffs.




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                               CAUTIONARY INSTRUCTION40

        The fact that I have given you instructions concerning the issue of the Plaintiffs’ damages

 should not be interpreted in any way as an indication that I believe that Plaintiffs should or

 should not prevail in this case. The interrogatories which you will answer contain several

 questions about damages under different laws and different theories of recovery.

        You should not draw any inference from the fact that a damage question has been asked.

 You must answer each Interrogatory separately and award damages, if appropriate,

 independently of damages which you may award under any other interrogatory.




        40
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.93, p. 180
   th
 (5 ed., Vol. 3B, 2000).


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                                        SECURITIES CLAIMS

         The buying and selling of securities is controlled by the securities laws. One who

 violates the securities laws is liable for damages caused by the violation. The securities laws

 generally prohibit misrepresentation of material facts, omission of material facts, and false

 registration in connection with the purchase and sale of securities.

         A “security” is an investment in an enterprise with the expectation of profit from the

 efforts of other people. Common types of securities include stocks, bonds, debentures, warrants

 and investment contracts.41

         Section 11 of the 1933 Securities Act allows purchasers of a registered security to sue

 certain listed parties in a registered offering when false or misleading information is included in

 the registration statement. This section was designed to assure compliance with the disclosure

 provisions of the Act by imposing a stringent standard of liability on the parties who play a direct

 role in the role in the registered offering.

         If Plaintiffs MacDonald or the Grovers purchased a security issued pursuant to a

 registration statement, these Plaintiffs are required to show a material misstatement or omission

 to establish their prima facie case.

         Plaintiffs claim to have experienced a loss because of the Defendants’ alleged

 misrepresentation of material facts or omission of material facts in the registration statement.

         Defendants deny that the registration statement misrepresented material facts or omitted

 material facts. Further, Defendants claim to have used due diligence in preparing the registration

 statement.42




          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 162.40, p. 230
         41

   th
 (5 ed., Vol. 3B, 2000).


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        This case involves the purchase of alleged securities issued by FEEP. Following the stock

 market crash of 1929, federal and state governments passed laws to protect the integrity of the

 financial markets. The underlying idea of these laws is that disclosure of material matters about

 securities that are bought and sold will protect the integrity of the marketplace.43

        Plaintiffs MacDonald and the Grovers must prove by a preponderance of the evidence

 that they acquired a security that was the subject of the disputed registration statement. Plaintiffs

 are not required to prove that the security was obtained directly from the issuer. It is sufficient if

 Plaintiffs are able to trace the purchased security back to the first registered offering. Plaintiffs

 must also demonstrate that the security acquired was part of the block of securities that was the

 subject of the registration statement. A person may acquire a security by coming into lawful

 possession of the security by any means, including by purchase, transfer, or gift. It is not

 necessary that Plaintiffs prove that they purchased the security.44

        Plaintiffs must prove by a preponderance of the evidence that the registration statement in

 issue misrepresented or omitted a material fact. A misrepresentation is a statement made in the

 registration statement that was false or misleading when it was made. An omission is a failure to

 disclose a material fact in the registration statement that needed to be disclosed to keep the

 statements that were actually made from being misleading. An omission focuses on what was

 not said rather than what was said. In order for Plaintiffs to succeed on their misstatement or

 omissions claim, they must establish by a preponderance of the evidence that a statement was


        42
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE            AND INSTRUCTIONS     § 162.01, pp.
 211-12 (5th ed., Vol. 3B, 2000).
        43
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 162.02, p. 213
   th
 (5 ed., Vol. 3B, 2000).
        44
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE            AND INSTRUCTIONS     § 162.21, pp.
 219-20 (5th ed., Vol. 3B, 2000).


                                                  41
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 false, or that a statement that was required to be made was omitted, or that a statement actually

 made in the registration statement was misleading because other material facts were omitted.

        In determining whether a material statement was true and accurate, you must evaluate the

 statement in light of the circumstances that existed when the statement was made. A statement

 regarding a material fact is not false or misleading merely because later events prove it to have

 been untrue or inaccurate. If a material statement was true when made but became untrue before

 the date that the registration is effective, then Defendants had a duty to correct the statement.

        “Disclosure” means that a statement fairly and adequately tells a reasonable investor

 about the true state of affairs of the company offering the securities. In considering the fairness

 and adequacy of the disclosure of any given material fact, the statement need not contain minute

 details or backup data. Rather, the disclosure obligation is satisfied if sufficient details are

 provided, in reasonably understandable language or figures, so that the significance of the

 disclosure is understandable to a reasonable investor. There is no requirement that a material

 fact be expressed in certain words or in a certain form of language. However, the language used

 and the position and emphasis given to each statement may be considered in determining

 whether a material fact has been fairly and reasonably disclosed.

        Representations in a registration statement must be interpreted according to the plain

 meaning of the words used and must be read in the entire context in which they are made. In

 determining the adequacy of a disclosure in a registration statement, the disclosure must be

 reviewed from the standpoint of the reasonable investor. In considering whether a material fact

 was omitted, you must consider whether the information was already in the public domain.

 While full disclosure is an essential part of the federal securities regulations, there is no duty to

 disclose information to one who reasonably should already be aware of it. When determining the




                                                  42
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 completeness and accuracy of auditing financial statements, you should consider whether, in

 order to keep the financial statements from being materially misleading, it was necessary to

 disclose events occurring after the audit but before the effective date of the registration

 statement.45

        If you find the registration statement contained an untrue fact or an omission, then you

 must decide if the facts misrepresented in or omitted from the statement are material. A fact is

 material if there is a substantial likelihood that a reasonable investor would consider the

 statement or fact to be significant or important in making an investment decision. This is an

 objective test, measuring what facts a hypothetical, reasonable investor would probably think

 important, not what any individual plaintiff actually considered to be important. You do not

 need to find that the misrepresented or omitted fact would have changed the decision to invest,

 only that it would be considered significant. A finding of materiality must be based on the facts

 existing when the statement was made. Materiality cannot be changed in hindsight. You may

 not consider events occurring after the statement or omission in determining whether the

 statement or omission was material when it was made. A statement or omission made after the

 time of the investment cannot be material to that investment.46

        Plaintiffs must prove by a preponderance of the evidence that Defendants are persons in

 one of the categories specified in the federal and state statutes. These categories are:

        1.      Persons who signed the registration statement.

        2.      Any person who was a director of (or person performing similar functions) or
        partner in the issuer at the time of the filing of the part of the registration statement with
        respect to which that person's liability is asserted.

        45
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE            AND INSTRUCTIONS     § 162.22, pp.
 220-21 (5th ed., Vol. 3B, 2000).
        46
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE            AND INSTRUCTIONS     § 162.23, pp.
 222-23 (5th ed., Vol. 3B, 2000).


                                                  43
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       3.     A person who, with the person's consent, is named in the registration statement as
       being or about to become a director, person performing similar functions, or partner.

       4.      An accountant, engineer, or appraiser, or any person whose profession gives
       authority to a statement made by that person, who has with his or her consent been named
       as having prepared or certified any part of the registration statement, or as having
       prepared or certified any report or valuation used in connection with the registration
       statement, with respect to the statement in the registration statement, report, or valuation,
       which purports to have been prepared or certified by that person.

       5.     An underwriter with respect to the security acquired by the plaintiff.47




       47
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE         AND INSTRUCTIONS     § 162.24, pp.
 225-26 (5th ed., Vol. 3B, 2000).


                                                44
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                                      OTHER DEFINITIONS

        When the negligent acts or omissions of two or more persons contribute concurrently,

 and as proximate causes, to the injury and damage of another, each of such persons is liable.

 This is true regardless of the relative blame or fault of each.48 Since a corporation can act only

 through its officers, or employees, or other agents, the burden is on the Plaintiffs to establish by a

 preponderance of the evidence that the negligence of one or more officers, or employees, or

 other agents, of the corporate Defendants was a proximate cause of any injuries and consequent

 damages sustained by the Plaintiffs.49

        In order to find a corporate defendant liable for the injuries caused by one of the

 individuals, you must first find that the individual was an employee of the company. In order for

 the individual to be an employee of the company, the company must have had the right to control

 and direct the work being performed. That right of control of the work must include more than

 merely the right to control the results of the work. The company must have also been able to

 control the means of accomplishing the work. In determining whether you believe that the

 company had the right to control the means of accomplishing the work, you may consider the

 following factors:

              (1)     the extent to which the company had the right to control the means of
        accomplishing the work;

              (2)     the extent to which the company furnished the necessary tools or
        equipment to accomplish the work;

              (3)     the extent to which the company furnished additional help or assistants to
        accomplish the work;


        48
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 120.50, p. 263
   th
 (5 ed., Vol. 3B, 2000).
        49
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 120.51, p. 263
   th
 (5 ed., Vol. 3B, 2000).


                                                  45
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                (4)      the extent to which the person doing the work had the opportunity to
        realize a profit form the work or whether the person was paid regular wages;

               (5)   the extent to which the relationship with the company had an expectation
        of permanency;

              (6)    the extent to which the work being performed was a regular part of the
        company’s business; and

                (7)   the extent to which the parties expressed the right of the company to
        control the means of accomplishing the work in any written employment contracts.

 In considering these factors, you should keep in mind that no single factor should be considered

 conclusive, but should, instead, be considered in conjunction with the whole circumstances of the

 activity.50 If you find from the facts that the company failed to have the right to control the

 means of accomplishing the work, then, even thought the plaintiff was injured by the conduct of

 the individual who was a supposed employee of the company, you shall find for the company.51

        Moreover, Plaintiffs claim that the companies and the individuals are the alter ego of

 each other. This amounts to a claim that those parties should be treated as being one and the

 same entity or person under the law so that the separate corporate existence should be

 disregarded and Defendants should be held personally liable for their obligations. With respect

 to that issue, you are instructed that a corporation, generally, is a separate legal entity authorized

 under the law to do business in its own right and on its own credit as distinguished from the

 credit and assets of other persons or corporations. Also, the mere fact that one or two individuals

 own and control the stock structure of a corporation, or that two corporations have common

 officers or directors, or both, does not mean that the corporation may be regarded as the alter ego

 of its stockholders.

        50
           Ronald Eades, JURY INSTRUCTIONS       IN   COMMERCIAL LITIGATION § 16.01, p 16-3 (2d
 ed., 2011).
        51
           Ronald Eades, JURY INSTRUCTIONS       IN   COMMERCIAL LITIGATION § 16.02, p 16-4 (2d
 ed., 2011).


                                                  46
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          Fraud, as used in these instructions, mean that he defendant made a misrepresentation or

 omission knowingly and intentionally, not as a result of mistake or accident; that is, that the

 defendant either knew of the falsity of the misrepresentation or that the omission would create a

 false impression, or that he or she made the misrepresentation, or omission, recklessly without

 any knowledge of its truth as a positive assertion.52

          A misrepresentation is fraudulent if the maker of the statement intends his or her

 assertion to induce a party to take certain action and the maker: (1) knows or believes that the

 assertion is not in accordance with the facts, or (2) does not have confidence in the accuracy of

 the statement.53

          In order for a contract to be binding and enforceable, several requirements must be met.

 There must be evidence sufficient to prove that there was an offer made by one of the parties,

 and that the other party accepted the offer. In addition, there must be evidence that the parties

 supplied consideration for the formation of the agreement. Finally, it is necessary that the parties

 had a meeting of the minds on all of the essential terms and conditions of the agreement. If you

 find from the evidence, that all of the above requirements have been satisfied, then you will find

 that a legally binding and enforceable contract was formed.54

          As used in these instructions, an “offer” is the manifestation of a willingness to enter into

 a bargain, so made as to justify another person in understanding that his or her assent to that




          52
               Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 2.02, p 2-5 (2d ed.,
 2011).
          53
               Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 2.03, p 2-6 (2d ed.,
 2011).
          54
               Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 4.01, p 4-4 (2d ed.,
 2011).


                                                   47
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 bargain is invited and will conclude it.55 As used in these instructions, the terms “acceptance

 means performance of the conditions of the offer. In order to find that the offer has been

 accepted, therefore, you must find from the facts that acceptance meets the form specified in the

 offer. In addition, in order to find an acceptance, you must find that the acceptance was clear

 and unequivocal.56 As used in these instructions, the term “consideration” means the inducement

 to enter into the agreement. It is the cause, motive, price, or impelling influence which induced

 the party to enter into the contract. It may include some right, interest, profit, or benefit accruing

 tone party, or some forbearance, detriment, loss or responsibility given, suffered or undertaken

 by the other.57




          55
               Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 4.03, p 4-6 (2d ed.,
 2011).
          56
               Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 4.04, p 4-7 (2d ed.,
 2011).
          57
               Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 4.05, p 4-8 (2d ed.,
 2011).


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                                         QUESTION NO. 1

        Do you find from a preponderance of the evidence:

        (1)     There were was an enterprise;

        (2)     That the enterprise engaged in or had some effect on interstate commerce;

        (3)     That the RICO Defendants derived income, directly or indirectly, from a pattern

 of racketeering activity; and

        (4)     That some part of that income was used to acquire an interest in, to establish, or to

 operate the alleged enterprises?

        Answer as to each RICO Defendant and each alleged enterprise.58

 ClassicStar:                    ______ Yes           or      ______ No

        Which Enterprise:        ______ ClassicStar, LLC      ______ ClassicStar 2004, LLC

                                 ______ ClassicStar Farms, LLC        ______ GeoStar Corporation

                                 ______ ClassicStar Association In Fact

 ClassicStar Farms:              ______ Yes           or      ______ No

        Which Enterprise:        ______ ClassicStar, LLC      ______ ClassicStar 2004, LLC

                                 ______ ClassicStar Farms, LLC        ______ GeoStar Corporation

                                 ______ ClassicStar Association In Fact

 ClassicStar 2004:               ______ Yes           or      ______ No

        Which Enterprise:        ______ ClassicStar, LLC      ______ ClassicStar 2004, LLC

                                 ______ ClassicStar Farms, LLC        ______ GeoStar Corporation

                                 ______ ClassicStar Association In Fact

 CFI:                            ______ Yes           or      ______ No

        58
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.100, pp.
 181-182 (5th ed., Vol. 3B, 2000). See also 18 U.S.C. 1962(a).


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            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 NELC:                          ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 New NEL:                       ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 GeoStar:                       ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 Gastar:                        ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 Parrott:                       ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact




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 Robinson:                 ______ Yes           or     ______ No

       Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                           ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                           ______ ClassicStar Association In Fact

 Ferguson:                 ______ Yes           or     ______ No

       Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                           ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                           ______ ClassicStar Association In Fact

 Plummer:                  ______ Yes           or     ______ No

       Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                           ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                           ______ ClassicStar Association In Fact

 Spencer:                  ______ Yes           or     ______ No

       Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                           ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                           ______ ClassicStar Association In Fact




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                           ___________________________
                            FOREPERSON (if unanimous)

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

                             MEMBERS OF THE JURY
                                (if not unanimous)




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                                          QUESTION NO. 2

        Do you find from a preponderance of the evidence:

        (1)     That an enterprise existed;

        (2)     That the enterprise engaged in or had some effect upon interstate or foreign

 commerce;

        (3)     That the RICO Defendants were employed by or associated with the alleged

 enterprise;

        (4)     That the RICO Defendants knowingly and willfully conducted or participated,

 directly or indirectly, in the conduct of the affairs of the alleged enterprises; and

        (5)     That the RICO Defendants did so knowingly and willfully through a pattern of

 racketeering activity.

        Answer as to each RICO Defendant and each enterprise.59

 ClassicStar:                   ______ Yes              or      ______ No

        Which Enterprise:       ______ ClassicStar, LLC         ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC           ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 ClassicStar Farms:             ______ Yes              or      ______ No

        Which Enterprise:       ______ ClassicStar, LLC         ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC           ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 ClassicStar 2004:              ______ Yes              or      ______ No

        Which Enterprise:       ______ ClassicStar, LLC         ______ ClassicStar 2004, LLC

        59
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.100, pp.
 181-182 (5th ed., Vol. 3B, 2000). See also 18 U.S.C. 1962(c).


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                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 CFI:                           ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 NELC:                          ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 New NEL:                       ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 GeoStar:                       ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 Gastar:                        ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 Parrott:                       ______ Yes           or     ______ No




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       Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                           ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                           ______ ClassicStar Association In Fact

 Robinson:                 ______ Yes           or     ______ No

       Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                           ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                           ______ ClassicStar Association In Fact

 Ferguson:                 ______ Yes           or     ______ No

       Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                           ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                           ______ ClassicStar Association In Fact

 Plummer:                  ______ Yes           or     ______ No

       Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                           ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                           ______ ClassicStar Association In Fact

 Spencer:                  ______ Yes           or     ______ No

       Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                           ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                           ______ ClassicStar Association In Fact




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                           ___________________________
                            FOREPERSON (if unanimous)

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

                             MEMBERS OF THE JURY
                                (if not unanimous)




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                                         QUESTION NO. 3

        Do you find from a preponderance of the evidence:

        (1)     That two or more RICO Defendants in some way or manner came to a mutual

 understanding to attempt to accomplish a common and unlawful plan, that is that while being

 employed by or associated with an enterprise, they engaged in activities which affected interstate

 or foreign commerce, or conducted the affairs of the alleged enterprise through a pattern of

 racketeering activity, in the manner charged;

        (2)     That the RICO Defendants knowingly and willfully became members of a

 conspiracy by objectively indicating, through their words or actions, their agreement to conduct

 or participate, directly or indirectly, in the conduct of the affairs of an enterprise through a

 pattern of racketeering activity; and

        (3)     That at least one of the conspirators committed at least one overt act during the

 existence of a conspiracy in an effort to accomplish some object or purpose of the conspiracy.

        Answer as to each RICO Defendant and each enterprise.60

 ClassicStar:                   ______ Yes            or     ______ No

        Which Enterprise:       ______ ClassicStar, LLC      ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC       ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 ClassicStar Farms:             ______ Yes            or     ______ No

        Which Enterprise:       ______ ClassicStar, LLC      ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC       ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

        60
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 161.100, pp.
 181-182 (5th ed., Vol. 3B, 2000). See also 18 U.S.C. 1962(d).


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 ClassicStar 2004:             ______ Yes           or     ______ No

           Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                               ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                               ______ ClassicStar Association In Fact

 CFI:                          ______ Yes           or     ______ No

           Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                               ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                               ______ ClassicStar Association In Fact

 NELC:                         ______ Yes           or     ______ No

           Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                               ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                               ______ ClassicStar Association In Fact

 New NEL:                      ______ Yes           or     ______ No

           Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                               ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                               ______ ClassicStar Association In Fact

 GeoStar:                      ______ Yes           or     ______ No

           Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                               ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                               ______ ClassicStar Association In Fact

 Gastar:                       ______ Yes           or     ______ No

           Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                               ______ ClassicStar Farms, LLC      ______ GeoStar Corporation




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                                ______ ClassicStar Association In Fact

 Parrott:                       ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 Robinson:                      ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 Ferguson:                      ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 Plummer:                       ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact

 Spencer:                       ______ Yes           or     ______ No

            Which Enterprise:   ______ ClassicStar, LLC     ______ ClassicStar 2004, LLC

                                ______ ClassicStar Farms, LLC      ______ GeoStar Corporation

                                ______ ClassicStar Association In Fact




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                           ___________________________
                            FOREPERSON (if unanimous)

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

 ____________________________________        ___________________________________

                             MEMBERS OF THE JURY
                                (if not unanimous)




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                                         QUESTION NO. 4

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to West Hills that the
        Mare Lease Program was structured such that it fell within certain IRS guidelines for
        certain deductions;

               (b)      That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)   That Defendants made this material representation with the intent to
        induce West Hills to take action based upon it;

               (e)    That West Hills justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to West Hills?

        Answer as to each Defendant.61

             Plummer:                        ______ Yes                or   ______ No

             Ferguson:                       ______ Yes                or   ______ No

             Spencer:                        ______ Yes                or   ______ No

             ClassicStar:                    ______ Yes                or   ______ No

             GeoStar:                        ______ Yes                or   ______ No

             ClassicStar Farms:              ______ Yes                or   ______ No

             ClassicStar 2004:               ______ Yes                or   ______ No

             CFI:                            ______ Yes                or   ______ No

             NELC:                           ______ Yes                or   ______ No


        61
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
 333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
 468 (Ky. 1999).


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                                    10062


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

 ____________________________________         ___________________________________

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 ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                         QUESTION NO. 5

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to Arbor that the Mare
        Lease Program was structured such that it fell within certain IRS guidelines for certain
        deductions;

               (b)      That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce Arbor to take action based upon it;

               (e)    That Arbor justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to Arbor?

        Answer as to each Defendant.62

             Plummer:                        ______ Yes                or   ______ No

             Ferguson:                       ______ Yes                or   ______ No

             Spencer:                        ______ Yes                or   ______ No

             ClassicStar:                    ______ Yes                or   ______ No

             GeoStar:                        ______ Yes                or   ______ No

             ClassicStar Farms:              ______ Yes                or   ______ No

             ClassicStar 2004:               ______ Yes                or   ______ No

             CFI:                            ______ Yes                or   ______ No

             NELC:                           ______ Yes                or   ______ No


        62
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
 333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
 468 (Ky. 1999).


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                                    10064


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

 ____________________________________         ___________________________________

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 ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                         QUESTION NO. 6

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to Nelson that the
        Mare Lease Program was structured such that it fell within certain IRS guidelines for
        certain deductions;

               (b)      That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce Nelson to take action based upon it;

               (e)    That Nelson justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to Nelson?

        Answer as to each Defendant.63

             Plummer:                        ______ Yes                or   ______ No

             Ferguson:                       ______ Yes                or   ______ No

             Spencer:                        ______ Yes                or   ______ No

             ClassicStar:                    ______ Yes                or   ______ No

             GeoStar:                        ______ Yes                or   ______ No

             ClassicStar Farms:              ______ Yes                or   ______ No

             ClassicStar 2004:               ______ Yes                or   ______ No

             CFI:                            ______ Yes                or   ______ No

             NELC:                           ______ Yes                or   ______ No


        63
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
 333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
 468 (Ky. 1999).


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                                    10066


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

 ____________________________________         ___________________________________

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                    10067


                                         QUESTION NO. 7

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to MacDonald that the
        Mare Lease Program was structured such that it fell within certain IRS guidelines for
        certain deductions;

               (b)      That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)  That Defendants made this material representation with the intent to
        induce MacDonald to take action based upon it;

               (e)    That MacDonald justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to MacDonald?

        Answer as to each Defendant.64

             Plummer:                        ______ Yes                or   ______ No

             Ferguson:                       ______ Yes                or   ______ No

             Spencer:                        ______ Yes                or   ______ No

             ClassicStar:                    ______ Yes                or   ______ No

             GeoStar:                        ______ Yes                or   ______ No

             ClassicStar Farms:              ______ Yes                or   ______ No

             ClassicStar 2004:               ______ Yes                or   ______ No

             CFI:                            ______ Yes                or   ______ No

             NELC:                           ______ Yes                or   ______ No


        64
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
 333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
 468 (Ky. 1999).


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            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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 ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                         QUESTION NO. 8

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to the Grovers that the
        Mare Lease Program was structured such that it fell within certain IRS guidelines for
        certain deductions;

               (b)      That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce the Grovers to take action based upon it;

               (e)   That the Grovers justifiably relied upon the material representation to their
        detriment; AND

                (f)     That the material representation by Defendants was the proximate cause of
        the injury to the Grovers?

        Answer as to each Defendant.65

             Plummer:                        ______ Yes                or   ______ No

             Ferguson:                       ______ Yes                or   ______ No

             Spencer:                        ______ Yes                or   ______ No

             ClassicStar:                    ______ Yes                or   ______ No

             GeoStar:                        ______ Yes                or   ______ No

             ClassicStar Farms:              ______ Yes                or   ______ No

             ClassicStar 2004:               ______ Yes                or   ______ No

             CFI:                            ______ Yes                or   ______ No

             NELC:                           ______ Yes                or   ______ No


        65
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
 333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
 468 (Ky. 1999).


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            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

 ____________________________________         ___________________________________

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 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                            QUESTION NO. 9

        Do you find from a preponderance of the evidence:

               (a)      That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants aided and abetted other parties in promoting the material
        representation to West Hills that the Mare Lease Program was structured such that it fell
        within certain IRS guidelines for certain deductions;

                  (b)       That this material representation was false;

                  (c)       That Defendants provided this assistance recklessly or knowing it to be
        false;

                (d)     That Defendants provided this assistance with the intent to induce West
        Hills to take such action;

               (e)   That West Hills justifiably relied upon the material representation to its
        detriment; AND

               (f)    That each Defendants acts of aiding and abetting the misrepresentation
        was the proximate cause of the injury to West Hills?

        Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

 Question No. 4, then you cannot answer “Yes” to that same Defendant in the present question.66

                 Plummer:                        ______ Yes                or   ______ No

                 Ferguson:                       ______ Yes                or   ______ No

                 Spencer:                        ______ Yes                or   ______ No

                 ClassicStar:                    ______ Yes                or   ______ No

                 GeoStar:                        ______ Yes                or   ______ No

                 ClassicStar Farms:              ______ Yes                or   ______ No

                 ClassicStar 2004:               ______ Yes                or   ______ No

                 CFI:                            ______ Yes                or   ______ No


        66
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
 333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
 468 (Ky. 1999).


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            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                           QUESTION NO. 10

        Do you find from a preponderance of the evidence:

               (a)      That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants aided and abetted other parties in promoting the material
        representation to Arbor that the Mare Lease Program was structured such that it fell
        within certain IRS guidelines for certain deductions;

                  (b)       That this material representation was false;

                  (c)       That Defendants provided this assistance recklessly or knowing it to be
        false;

                (d)    That Defendants provided this assistance with the intent to induce Arbor
        to take such action;

               (e)   That Arbor justifiably relied upon the material representation to its
        detriment; AND

               (f)    That each Defendants acts of aiding and abetting the misrepresentation
        was the proximate cause of the injury to Arbor?

        Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

 Question No. 5, then you cannot answer “Yes” to that same Defendant in the present question.67

                 Plummer:                        ______ Yes                or   ______ No

                 Ferguson:                       ______ Yes                or   ______ No

                 Spencer:                        ______ Yes                or   ______ No

                 ClassicStar:                    ______ Yes                or   ______ No

                 GeoStar:                        ______ Yes                or   ______ No

                 ClassicStar Farms:              ______ Yes                or   ______ No

                 ClassicStar 2004:               ______ Yes                or   ______ No

                 CFI:                            ______ Yes                or   ______ No


        67
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
 333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
 468 (Ky. 1999).


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            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

 ____________________________________         ___________________________________

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 ____________________________________         ___________________________________

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 ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                           QUESTION NO. 11

        Do you find from a preponderance of the evidence:

               (a)      That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants aided and abetted other parties in promoting the material
        representation to Nelson that the Mare Lease Program was structured such that it fell
        within certain IRS guidelines for certain deductions;

                  (b)       That this material representation was false;

                  (c)       That Defendants provided this assistance recklessly or knowing it to be
        false;

                (d)    That Defendants provided this assistance with the intent to induce Nelson
        to take such action;

               (e)   That Nelson justifiably relied upon the material representation to its
        detriment; AND

               (f)    That each Defendants acts of aiding and abetting the misrepresentation
        was the proximate cause of the injury to Nelson?

        Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

 Question No. 6, then you cannot answer “Yes” to that same Defendant in the present question.68

                 Plummer:                        ______ Yes                or   ______ No

                 Ferguson:                       ______ Yes                or   ______ No

                 Spencer:                        ______ Yes                or   ______ No

                 ClassicStar:                    ______ Yes                or   ______ No

                 GeoStar:                        ______ Yes                or   ______ No

                 ClassicStar Farms:              ______ Yes                or   ______ No

                 ClassicStar 2004:               ______ Yes                or   ______ No

                 CFI:                            ______ Yes                or   ______ No


        68
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
 333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
 468 (Ky. 1999).


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            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                           QUESTION NO. 12

        Do you find from a preponderance of the evidence:

               (a)      That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants aided and abetted other parties in promoting the material
        representation to MacDonald that the Mare Lease Program was structured such that it fell
        within certain IRS guidelines for certain deductions;

                  (b)       That this material representation was false;

                  (c)       That Defendants provided this assistance recklessly or knowing it to be
        false;

             (d)     That Defendants provided this assistance with the intent to induce
        MacDonald to take such action;

               (e)   That MacDonald justifiably relied upon the material representation to its
        detriment; AND

               (f)    That each Defendants acts of aiding and abetting the misrepresentation
        was the proximate cause of the injury to MacDonald?

        Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

 Question No. 7, then you cannot answer “Yes” to that same Defendant in the present question.69

                 Plummer:                        ______ Yes                or   ______ No

                 Ferguson:                       ______ Yes                or   ______ No

                 Spencer:                        ______ Yes                or   ______ No

                 ClassicStar:                    ______ Yes                or   ______ No

                 GeoStar:                        ______ Yes                or   ______ No

                 ClassicStar Farms:              ______ Yes                or   ______ No

                 ClassicStar 2004:               ______ Yes                or   ______ No

                 CFI:                            ______ Yes                or   ______ No


        69
          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
 333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
 468 (Ky. 1999).


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            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

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 ____________________________________         ___________________________________

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 ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                           QUESTION NO. 13

        Do you find from a preponderance of the evidence:

               (a)      That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants aided and abetted other parties in promoting the material
        representation to the Grovers that the Mare Lease Program was structured such that it fell
        within certain IRS guidelines for certain deductions;

                  (b)       That this material representation was false;

                  (c)       That Defendants provided this assistance recklessly or knowing it to be
        false;

              (d)      That Defendants provided this assistance with the intent to induce the
        Grovers to take such action;

               (e)   That the Grovers justifiably relied upon the material representation to their
        detriment; AND

               (f)    That each Defendants acts of aiding and abetting the misrepresentation
        was the proximate cause of the injury to the Grovers?

        Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

 Question No. 8, then you cannot answer “Yes” to that same Defendant in the present question.70

                 Plummer:                        ______ Yes                or   ______ No

                 Ferguson:                       ______ Yes                or   ______ No

                 Spencer:                        ______ Yes                or   ______ No

                 ClassicStar:                    ______ Yes                or   ______ No

                 GeoStar:                        ______ Yes                or   ______ No

                 ClassicStar Farms:              ______ Yes                or   ______ No

                 ClassicStar 2004:               ______ Yes                or   ______ No

                 CFI:                            ______ Yes                or   ______ No


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          O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
 333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
 468 (Ky. 1999).


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            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

 ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                            QUESTION NO. 14

       Do you find from a preponderance of the evidence:

              (a)     That in the course of marketing and operating the Mare Lease Program,
       the below listed Defendants each made the material representation to West Hills that
       West Hills would be provided services, as described in the various mare lease contracts,
       that were of equal or greater value than those services described in the mare lease
       contracts;

                   (b)       That this material representation was false;

                (c)    That Defendants made this material representation recklessly or knowing
       it to be false;

              (d)   That Defendants made this material representation with the intent to
       induce West Hills to take such action;

              (e)   That West Hills justifiably relied upon the material representation to its
       detriment; AND

               (f)    That the material representation by Defendants was the proximate cause of
       the injury to West Hills?

       Answer as to each Defendant.71

                  Plummer:                        ______ Yes                or   ______ No

                  Ferguson:                       ______ Yes                or   ______ No

                  Spencer:                        ______ Yes                or   ______ No

                  ClassicStar:                    ______ Yes                or   ______ No

                  GeoStar:                        ______ Yes                or   ______ No

                  ClassicStar Farms:              ______ Yes                or   ______ No

                  ClassicStar 2004:               ______ Yes                or   ______ No

                  CFI:                            ______ Yes                or   ______ No

                  NELC:                           ______ Yes                or   ______ No

                  New NEL:                        ______ Yes                or   ______ No

       71
            Id.


                                                      81
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                                    10082


            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




                                         82
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                                    10083


                                            QUESTION NO. 15

       Do you find from a preponderance of the evidence:

              (a)     That in the course of marketing and operating the Mare Lease Program,
       the below listed Defendants each made the material representation to Arbor that Arbor
       would be provided services, as described in the various mare lease contracts, that were of
       equal or greater value than those services described in the mare lease contracts;

                   (b)       That this material representation was false;

                (c)    That Defendants made this material representation recklessly or knowing
       it to be false;

              (d)    That Defendants made this material representation with the intent to
       induce Arbor to take such action;

              (e)   That Arbor justifiably relied upon the material representation to its
       detriment; AND

               (f)    That the material representation by Defendants was the proximate cause of
       the injury to Arbor?

       Answer as to each Defendant.72

                  Plummer:                        ______ Yes                or   ______ No

                  Ferguson:                       ______ Yes                or   ______ No

                  Spencer:                        ______ Yes                or   ______ No

                  ClassicStar:                    ______ Yes                or   ______ No

                  GeoStar:                        ______ Yes                or   ______ No

                  ClassicStar Farms:              ______ Yes                or   ______ No

                  ClassicStar 2004:               ______ Yes                or   ______ No

                  CFI:                            ______ Yes                or   ______ No

                  NELC:                           ______ Yes                or   ______ No

                  New NEL:                        ______ Yes                or   ______ No


       72
            Id.


                                                      83
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                                    10084


            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                    10085


                                            QUESTION NO. 16

       Do you find from a preponderance of the evidence:

               (a)    That in the course of marketing and operating the Mare Lease Program,
       the below listed Defendants each made the material representation to Nelson that Nelson
       would be provided services, as described in the various mare lease contracts, that were of
       equal or greater value than those services described in the mare lease contracts;

                   (b)       That this material representation was false;

                (c)    That Defendants made this material representation recklessly or knowing
       it to be false;

              (d)    That Defendants made this material representation with the intent to
       induce Nelson to take such action;

              (e)   That Nelson justifiably relied upon the material representation to        its
       detriment; AND

               (f)    That the material representation by Defendants was the proximate cause of
       the injury to Nelson?

       Answer as to each Defendant.73

                  Plummer:                        ______ Yes                or   ______ No

                  Ferguson:                       ______ Yes                or   ______ No

                  Spencer:                        ______ Yes                or   ______ No

                  ClassicStar:                    ______ Yes                or   ______ No

                  GeoStar:                        ______ Yes                or   ______ No

                  ClassicStar Farms:              ______ Yes                or   ______ No

                  ClassicStar 2004:               ______ Yes                or   ______ No

                  CFI:                            ______ Yes                or   ______ No

                  NELC:                           ______ Yes                or   ______ No

                  New NEL:                        ______ Yes                or   ______ No


       73
            Id.


                                                      85
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                                    10086


            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                    10087


                                            QUESTION NO. 17

       Do you find from a preponderance of the evidence:

              (a)     That in the course of marketing and operating the Mare Lease Program,
       the below listed Defendants each made the material representation to MacDonald that
       MacDonald would be provided services, as described in the various mare lease contracts,
       that were of equal or greater value than those services described in the mare lease
       contracts;

                   (b)       That this material representation was false;

                (c)    That Defendants made this material representation recklessly or knowing
       it to be false;

              (d)  That Defendants made this material representation with the intent to
       induce MacDonald to take such action;

              (e)   That MacDonald justifiably relied upon the material representation to its
       detriment; AND

               (f)    That the material representation by Defendants was the proximate cause of
       the injury to MacDonald?

       Answer as to each Defendant.74

                  Plummer:                        ______ Yes                or   ______ No

                  Ferguson:                       ______ Yes                or   ______ No

                  Spencer:                        ______ Yes                or   ______ No

                  ClassicStar:                    ______ Yes                or   ______ No

                  GeoStar:                        ______ Yes                or   ______ No

                  ClassicStar Farms:              ______ Yes                or   ______ No

                  ClassicStar 2004:               ______ Yes                or   ______ No

                  CFI:                            ______ Yes                or   ______ No

                  NELC:                           ______ Yes                or   ______ No

                  New NEL:                        ______ Yes                or   ______ No

       74
            Id.


                                                      87
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                                    10088


            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                    10089


                                            QUESTION NO. 18

       Do you find from a preponderance of the evidence:

              (a)     That in the course of marketing and operating the Mare Lease Program,
       the below listed Defendants each made the material representation the Grovers that the
       Grovers would be provided services, as described in the various mare lease contracts, that
       were of equal or greater value than those services described in the mare lease contracts;

                   (b)       That this material representation was false;

                (c)    That Defendants made this material representation recklessly or knowing
       it to be false;

              (d)    That Defendants made this material representation with the intent to
       induce the Grovers to take such action;

              (e)   That the Grovers justifiably relied upon the material representation to their
       detriment; AND

               (f)     That the material representation by Defendants was the proximate cause of
       the injury to the Grovers?

       Answer as to each Defendant.75

                  Plummer:                        ______ Yes                or   ______ No

                  Ferguson:                       ______ Yes                or   ______ No

                  Spencer:                        ______ Yes                or   ______ No

                  ClassicStar:                    ______ Yes                or   ______ No

                  GeoStar:                        ______ Yes                or   ______ No

                  ClassicStar Farms:              ______ Yes                or   ______ No

                  ClassicStar 2004:               ______ Yes                or   ______ No

                  CFI:                            ______ Yes                or   ______ No

                  NELC:                           ______ Yes                or   ______ No

                  New NEL:                        ______ Yes                or   ______ No


       75
            Id.


                                                      89
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                                    10090


            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                             QUESTION NO. 19

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants aided and abetted other parties in promoting the material
        representation to West Hills that West Hills would be provided services, as described in
        the various mare lease contracts, that were of equal or greater value than those services
        described in the mare lease contracts;

                    (b)       That this material representation was false;

                    (c)       That Defendants provided this assistance recklessly or knowing it to be
        false;

                (d)     That Defendants provided this assistance with the intent to induce West
        Hills to take such action;

               (e)   That West Hills justifiably relied upon the material representation to its
        detriment; AND

               (f)    That each Defendants acts of aiding and abetting the misrepresentation
        was the proximate cause of the injury to West Hills?

        Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

 Question No. 14, then you cannot answer “Yes” to that same Defendant in the present question.76

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

        76
             Id.


                                                       91
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                                    10092


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                             QUESTION NO. 20

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants aided and abetted other parties in promoting the material
        representation to Arbor that Arbor would be provided services, as described in the
        various mare lease contracts, that were of equal or greater value than those services
        described in the mare lease contracts;

                    (b)       That this material representation was false;

                    (c)       That Defendants provided this assistance recklessly or knowing it to be
        false;

                (d)    That Defendants provided this assistance with the intent to induce Arbor
        to take such action;

               (e)   That Arbor justifiably relied upon the material representation to its
        detriment; AND

               (f)    That each Defendants acts of aiding and abetting the misrepresentation
        was the proximate cause of the injury to Arbor?

        Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

 Question No. 15, then you cannot answer “Yes” to that same Defendant in the present question.77

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

        77
             Id.


                                                       93
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                                    10094


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                             QUESTION NO. 21

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants aided and abetted other parties in promoting the material
        representation to Nelson that Nelson would be provided services, as described in the
        various mare lease contracts, that were of equal or greater value than those services
        described in the mare lease contracts;

                    (b)       That this material representation was false;

                    (c)       That Defendants provided this assistance recklessly or knowing it to be
        false;

                (d)    That Defendants provided this assistance with the intent to induce Nelson
        to take such action;

               (e)   That Nelson justifiably relied upon the material representation to its
        detriment; AND

               (f)    That each Defendants acts of aiding and abetting the misrepresentation
        was the proximate cause of the injury to Nelson?

        Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

 Question No. 16, then you cannot answer “Yes” to that same Defendant in the present question.78

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

        78
             Id.


                                                       95
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                                    10096


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                             QUESTION NO. 22

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants aided and abetted other parties in promoting the material
        representation to MacDonald that MacDonald would be provided services, as described
        in the various mare lease contracts, that were of equal or greater value than those services
        described in the mare lease contracts;

                    (b)       That this material representation was false;

                    (c)       That Defendants provided this assistance recklessly or knowing it to be
        false;

             (d)     That Defendants provided this assistance with the intent to induce
        MacDonald to take such action;

               (e)   That MacDonald justifiably relied upon the material representation to its
        detriment; AND

               (f)    That each Defendants acts of aiding and abetting the misrepresentation
        was the proximate cause of the injury to MacDonald?

        Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

 Question No. 17, then you cannot answer “Yes” to that same Defendant in the present question.79

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

        79
             Id.


                                                       97
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                                     10098


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes         or      ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes         or      ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 23

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants aided and abetted other parties in promoting the material
         representation to the Grovers that the Grovers would be provided services, as described in
         the various mare lease contracts, that were of equal or greater value than those services
         described in the mare lease contracts;

                     (b)       That this material representation was false;

                     (c)       That Defendants provided this assistance recklessly or knowing it to be
         false;

               (d)      That Defendants provided this assistance with the intent to induce the
         Grovers to take such action;

                (e)   That the Grovers justifiably relied upon the material representation to their
         detriment; AND

                (f)    That each Defendants acts of aiding and abetting the misrepresentation
         was the proximate cause of the injury to the Grovers?

         Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 18, then you cannot answer “Yes” to that same Defendant in the present question.80

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

         80
              Id.


                                                        99
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                                     10100


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                             QUESTION NO. 24

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to West Hills that the
        horses used in the Mare Lease Program had value corresponding with the value that was
        presented to West Hills in various marketing material;

                    (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)   That Defendants made this material representation with the intent to
        induce West Hills to take such action;

               (e)   That West Hills justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to West Hills?

        Answer as to each Defendant.81

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

                   New NEL:                        ______ Yes                or   ______ No


        81
             Id.


                                                      101
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                                     10102


            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                             QUESTION NO. 25

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to Arbor that the
        horses used in the Mare Lease Program had value corresponding with the value that was
        presented to Arbor in various marketing material;

                    (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce Arbor to take such action;

               (e)   That Arbor justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to Arbor?

        Answer as to each Defendant.82

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

                   New NEL:                        ______ Yes                or   ______ No


        82
             Id.


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                                     10104


            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



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                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                             QUESTION NO. 26

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to Nelson that the
        horses used in the Mare Lease Program had value corresponding with the value that was
        presented to Nelson in various marketing material;

                    (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce Nelson to take such action;

               (e)   That Nelson justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to Nelson?

        Answer as to each Defendant.83

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

                   New NEL:                        ______ Yes                or   ______ No


        83
             Id.


                                                      105
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                                     10106


            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



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                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                     10107


                                             QUESTION NO. 27

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to MacDonald that the
        horses used in the Mare Lease Program had value corresponding with the value that was
        presented to MacDonald in various marketing material;

                    (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)  That Defendants made this material representation with the intent to
        induce MacDonald to take such action;

               (e)   That MacDonald justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to MacDonald?

        Answer as to each Defendant.84

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

                   New NEL:                        ______ Yes                or   ______ No


        84
             Id.


                                                      107
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                                     10108


            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



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                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                             QUESTION NO. 28

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to the Grovers that the
        horses used in the Mare Lease Program had value corresponding with the value that was
        presented to the Grovers in various marketing material;

                    (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce the Grovers to take such action;

               (e)   That the Grovers justifiably relied upon the material representation to their
        detriment; AND

                (f)     That the material representation by Defendants was the proximate cause of
        the injury to the Grovers?

        Answer as to each Defendant.85

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

                   New NEL:                        ______ Yes                or   ______ No


        85
             Id.


                                                      109
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                                     10110


            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



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                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 29

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants aided and abetted other parties in promoting the material
         representation to West Hills that the horses used in the Mare Lease Program had value
         corresponding with the value that was presented to West Hills in various marketing
         material;

                     (b)       That this material representation was false;

                     (c)       That Defendants provided this assistance recklessly or knowing it to be
         false;

                 (d)     That Defendants provided this assistance with the intent to induce West
         Hills to take such action;

                (e)   That West Hills justifiably relied upon the material representation to its
         detriment; AND

                (f)    That each Defendants acts of aiding and abetting the misrepresentation
         was the proximate cause of the injury to West Hills?

         Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 24, then you cannot answer “Yes” to that same Defendant in the present question.86

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

         86
              Id.


                                                       111
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                                     10112


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 30

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants aided and abetted other parties in promoting the material
         representation to Arbor that the horses used in the Mare Lease Program had value
         corresponding with the value that was presented to Arbor in various marketing material;

                     (b)       That this material representation was false;

                     (c)       That Defendants provided this assistance recklessly or knowing it to be
         false;

                 (d)    That Defendants provided this assistance with the intent to induce Arbor
         to take such action;

                (e)   That Arbor justifiably relied upon the material representation to its
         detriment; AND

                (f)    That each Defendants acts of aiding and abetting the misrepresentation
         was the proximate cause of the injury to Arbor?

         Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 25, then you cannot answer “Yes” to that same Defendant in the present question.87

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No


         87
              Id.


                                                       113
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                                     10114


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



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                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 31

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants aided and abetted other parties in promoting the material
         representation to Nelson that the horses used in the Mare Lease Program had value
         corresponding with the value that was presented to Nelson in various marketing material;

                     (b)       That this material representation was false;

                     (c)       That Defendants provided this assistance recklessly or knowing it to be
         false;

                 (d)    That Defendants provided this assistance with the intent to induce Nelson
         to take such action;

                (e)   That Nelson justifiably relied upon the material representation to its
         detriment; AND

                (f)    That each Defendants acts of aiding and abetting the misrepresentation
         was the proximate cause of the injury to Nelson?

         Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 26, then you cannot answer “Yes” to that same Defendant in the present question.88

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No


         88
              Id.


                                                       115
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                                     10116


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 32

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants aided and abetted other parties in promoting the material
         representation to MacDonald that the horses used in the Mare Lease Program had value
         corresponding with the value that was presented to the Plaintiffs in various marketing
         material;

                     (b)       That this material representation was false;

                     (c)       That Defendants provided this assistance recklessly or knowing it to be
         false;

              (d)     That Defendants provided this assistance with the intent to induce
         MacDonald to take such action;

                (e)   That MacDonald justifiably relied upon the material representation to its
         detriment; AND

                (f)    That each Defendants acts of aiding and abetting the misrepresentation
         was the proximate cause of the injury to MacDonald?

         Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 27, then you cannot answer “Yes” to that same Defendant in the present question.89

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

         89
              Id.


                                                       117
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                                     10118


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



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                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 33

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants aided and abetted other parties in promoting the material
         representation to the Grovers that the horses used in the Mare Lease Program had value
         corresponding with the value that was presented to the Plaintiffs in various marketing
         material;

                     (b)       That this material representation was false;

                     (c)       That Defendants provided this assistance recklessly or knowing it to be
         false;

               (d)      That Defendants provided this assistance with the intent to induce the
         Grovers to take such action;

                (e)   That the Grovers justifiably relied upon the material representation to their
         detriment; AND

                (f)    That each Defendants acts of aiding and abetting the misrepresentation
         was the proximate cause of the injury to the Grovers?

         Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 28, then you cannot answer “Yes” to that same Defendant in the present question.90

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

         90
              Id.


                                                       119
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                                     10120


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



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                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                             QUESTION NO. 34

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to West Hills that the
        horses offered in the Mare Lease Program were exclusively thoroughbred horses;

                    (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)   That Defendants made this material representation with the intent to
        induce West Hills to take such action;

               (e)   That West Hills justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to West Hills?

        Answer as to each Defendant.91

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

                   New NEL:                        ______ Yes                or   ______ No

                   Buffalo Ranch:                 ______ Yes             or       ______ No

        91
             Id.


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                                     10122


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No

            Gastar:                 ______ Yes           or    ______ No

            Robinson:               ______ Yes           or    ______ No

            Parrott:                ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                             QUESTION NO. 35

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to Arbor that the
        horses offered in the Mare Lease Program were exclusively thoroughbred horses;

                    (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce Arbor to take such action;

               (e)   That Arbor justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to Arbor?

        Answer as to each Defendant.92

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

                   New NEL:                        ______ Yes                or   ______ No

                   Buffalo Ranch:                 ______ Yes             or       ______ No

        92
             Id.


                                                      123
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                                     10124


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No

            Gastar:                 ______ Yes           or    ______ No

            Robinson:               ______ Yes           or    ______ No

            Parrott:                ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                             QUESTION NO. 36

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to Nelson that the
        horses offered in the Mare Lease Program were exclusively thoroughbred horses;

                    (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce Nelson to take such action;

               (e)   That Nelson justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to Nelson?

        Answer as to each Defendant.93

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

                   New NEL:                        ______ Yes                or   ______ No

                   Buffalo Ranch:                 ______ Yes             or       ______ No

        93
             Id.


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            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No

            Gastar:                 ______ Yes           or    ______ No

            Robinson:               ______ Yes           or    ______ No

            Parrott:                ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                             QUESTION NO. 37

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to MacDonald that the
        horses offered in the Mare Lease Program were exclusively thoroughbred horses;

                    (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)  That Defendants made this material representation with the intent to
        induce MacDonald to take such action;

               (e)   That MacDonald justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to MacDonald?

        Answer as to each Defendant.94

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

                   New NEL:                        ______ Yes                or   ______ No

                   Buffalo Ranch:                 ______ Yes             or       ______ No

        94
             Id.


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            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No

            Gastar:                 ______ Yes           or    ______ No

            Robinson:               ______ Yes           or    ______ No

            Parrott:                ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                             QUESTION NO. 38

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to the Grovers that the
        horses offered in the Mare Lease Program were exclusively thoroughbred horses;

                    (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce the Grovers to take such action;

               (e)   That the Grovers justifiably relied upon the material representation to their
        detriment; AND

                (f)     That the material representation by Defendants was the proximate cause of
        the injury to the Grovers?

        Answer as to each Defendant.95

                   Plummer:                        ______ Yes                or   ______ No

                   Ferguson:                       ______ Yes                or   ______ No

                   Spencer:                        ______ Yes                or   ______ No

                   ClassicStar:                    ______ Yes                or   ______ No

                   GeoStar:                        ______ Yes                or   ______ No

                   ClassicStar Farms:              ______ Yes                or   ______ No

                   ClassicStar 2004:               ______ Yes                or   ______ No

                   CFI:                            ______ Yes                or   ______ No

                   NELC:                           ______ Yes                or   ______ No

                   New NEL:                        ______ Yes                or   ______ No

                   Buffalo Ranch:                 ______ Yes             or       ______ No

        95
             Id.


                                                      129
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                                     10130


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No

            Gastar:                 ______ Yes           or    ______ No

            Robinson:               ______ Yes           or    ______ No

            Parrott:                ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 39

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants aided and abetted other parties in promoting the material
         representation to West Hills that the horses offered in the Mare Lease Program were
         exclusively thoroughbred horses;

                     (b)       That this material representation was false;

                     (c)       That Defendants provided this assistance recklessly or knowing it to be
         false;

                 (d)     That Defendants provided this assistance with the intent to induce West
         Hills to take such action;

                (e)   That West Hills justifiably relied upon the material representation to its
         detriment; AND

                (f)    That each Defendants acts of aiding and abetting the misrepresentation
         was the proximate cause of the injury to West Hills?

         Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 34, then you cannot answer “Yes” to that same Defendant in the present question.96

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No


         96
              Id.


                                                       131
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                                     10132


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 40

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants aided and abetted other parties in promoting the material
         representation to Arbor that the horses offered in the Mare Lease Program were
         exclusively thoroughbred horses;

                     (b)       That this material representation was false;

                     (c)       That Defendants provided this assistance recklessly or knowing it to be
         false;

                 (d)    That Defendants provided this assistance with the intent to induce Arbor
         to take such action;

                (e)   That Arbor justifiably relied upon the material representation to its
         detriment; AND

                (f)    That each Defendants acts of aiding and abetting the misrepresentation
         was the proximate cause of the injury to Arbor?

         Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 35, then you cannot answer “Yes” to that same Defendant in the present question.97

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No


         97
              Id.


                                                       133
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                                     10134


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 41

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants aided and abetted other parties in promoting the material
         representation to Nelson that the horses offered in the Mare Lease Program were
         exclusively thoroughbred horses;

                     (b)       That this material representation was false;

                     (c)       That Defendants provided this assistance recklessly or knowing it to be
         false;

                 (d)    That Defendants provided this assistance with the intent to induce Nelson
         to take such action;

                (e)   That Nelson justifiably relied upon the material representation to its
         detriment; AND

                (f)    That each Defendants acts of aiding and abetting the misrepresentation
         was the proximate cause of the injury to Nelson?

         Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 36, then you cannot answer “Yes” to that same Defendant in the present question.98

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No


         98
              Id.


                                                       135
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                                     10136


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 42

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants aided and abetted other parties in promoting the material
         representation to MacDonald that the horses offered in the Mare Lease Program were
         exclusively thoroughbred horses;

                     (b)       That this material representation was false;

                     (c)       That Defendants provided this assistance recklessly or knowing it to be
         false;

              (d)     That Defendants provided this assistance with the intent to induce
         MacDonald to take such action;

                (e)   That MacDonald justifiably relied upon the material representation to its
         detriment; AND

                (f)    That each Defendants acts of aiding and abetting the misrepresentation
         was the proximate cause of the injury to MacDonald?

         Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 37, then you cannot answer “Yes” to that same Defendant in the present question.99

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No


         99
              Id.


                                                       137
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                                     10138


            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                                QUESTION NO. 43

          Do you find from a preponderance of the evidence:

                 (a)     That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to the Grovers that the horses offered in the Mare Lease Program were
          exclusively thoroughbred horses;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

                (d)      That Defendants provided this assistance with the intent to induce the
          Grovers to take such action;

                 (e)   That the Grovers justifiably relied upon the material representation to their
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to the Grovers?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 38, then you cannot answer “Yes” to that same Defendant in the present

  question.100

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          100
                Id.


                                                         139
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                                     10140


            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 44

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to West Hills that the
        horses offered in the Mare Lease Program were owned by ClassicStar;

                     (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)   That Defendants made this material representation with the intent to
        induce West Hills to take such action;

               (e)   That West Hills justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to West Hills?

        Answer as to each Defendant.101

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

                    New NEL:                        ______ Yes                or   ______ No

                    Buffalo Ranch:                 ______ Yes             or       ______ No

        101
              Id.


                                                       141
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                                     10142


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No

            Gastar:                 ______ Yes           or    ______ No

            Robinson:               ______ Yes           or    ______ No

            Parrott:                ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 45

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to Arbor that the
        horses offered in the Mare Lease Program were owned by ClassicStar;

                     (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce Arbor to take such action;

               (e)   That Arbor justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to Arbor?

        Answer as to each Defendant.102

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

                    New NEL:                        ______ Yes                or   ______ No

                    Buffalo Ranch:                 ______ Yes             or       ______ No

        102
              Id.


                                                       143
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                                     10144


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No

            Gastar:                 ______ Yes           or    ______ No

            Robinson:               ______ Yes           or    ______ No

            Parrott:                ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 46

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to Nelson that the
        horses offered in the Mare Lease Program were owned by ClassicStar;

                     (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce Nelson to take such action;

               (e)   That Nelson justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to Nelson?

        Answer as to each Defendant.103

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

                    New NEL:                        ______ Yes                or   ______ No

                    Buffalo Ranch:                 ______ Yes             or       ______ No

        103
              Id.


                                                       145
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                                     10146


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No

            Gastar:                 ______ Yes           or    ______ No

            Robinson:               ______ Yes           or    ______ No

            Parrott:                ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 47

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to MacDonald that the
        horses offered in the Mare Lease Program were owned by ClassicStar;

                     (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)  That Defendants made this material representation with the intent to
        induce MacDonald to take such action;

               (e)   That MacDonald justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to MacDonald?

        Answer as to each Defendant.104

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

                    New NEL:                        ______ Yes                or   ______ No

                    Buffalo Ranch:                 ______ Yes             or       ______ No

        104
              Id.


                                                       147
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                                     10148


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No

            Gastar:                 ______ Yes           or    ______ No

            Robinson:               ______ Yes           or    ______ No

            Parrott:                ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 48

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to the Grovers that the
        horses offered in the Mare Lease Program were owned by ClassicStar;

                     (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce the Grovers to take such action;

               (e)   That the Grovers justifiably relied upon the material representation to their
        detriment; AND

                (f)     That the material representation by Defendants was the proximate cause of
        the injury to the Grovers?

        Answer as to each Defendant.105

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

                    New NEL:                        ______ Yes                or   ______ No

                    Buffalo Ranch:                 ______ Yes             or       ______ No

        105
              Id.


                                                       149
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                                     10150


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No

            Gastar:                 ______ Yes           or    ______ No

            Robinson:               ______ Yes           or    ______ No

            Parrott:                ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                                QUESTION NO. 49

          Do you find from a preponderance of the evidence:

                 (a)     That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to West Hills that the horses offered in the Mare Lease Program were
          owned by ClassicStar;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

                  (d)     That Defendants provided this assistance with the intent to induce West
          Hills to take such action;

                 (e)   That West Hills justifiably relied upon the material representation to its
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to West Hills?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 44, then you cannot answer “Yes” to that same Defendant in the present

  question.106

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          106
                Id.


                                                         151
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                                     10152


            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                     10153


                                                QUESTION NO. 50

          Do you find from a preponderance of the evidence:

                 (a)     That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to Arbor that the horses offered in the Mare Lease Program were owned by
          ClassicStar;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

                  (d)    That Defendants provided this assistance with the intent to induce Arbor
          to take such action;

                 (e)   That Arbor justifiably relied upon the material representation to its
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to Arbor?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 45, then you cannot answer “Yes” to that same Defendant in the present

  question.107

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          107
                Id.


                                                         153
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                                     10154


            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                                QUESTION NO. 51

          Do you find from a preponderance of the evidence:

                 (a)     That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to Nelson that the horses offered in the Mare Lease Program were owned
          by ClassicStar;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

                  (d)    That Defendants provided this assistance with the intent to induce Nelson
          to take such action;

                 (e)   That Nelson justifiably relied upon the material representation to its
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to Nelson?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 46, then you cannot answer “Yes” to that same Defendant in the present

  question.108

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          108
                Id.


                                                         155
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                                     10156


            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                                QUESTION NO. 52

          Do you find from a preponderance of the evidence:

                 (a)     That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to MacDonald that the horses offered in the Mare Lease Program were
          owned by ClassicStar;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

               (d)     That Defendants provided this assistance with the intent to induce
          MacDonald to take such action;

                 (e)   That MacDonald justifiably relied upon the material representation to its
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to MacDonald?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 47, then you cannot answer “Yes” to that same Defendant in the present

  question.109

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          109
                Id.


                                                         157
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                                     10158


            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                                QUESTION NO. 53

          Do you find from a preponderance of the evidence:

                 (a)     That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to the Grovers that the horses offered in the Mare Lease Program were
          owned by ClassicStar;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

                (d)      That Defendants provided this assistance with the intent to induce the
          Grovers to take such action;

                 (e)   That the Grovers justifiably relied upon the material representation to their
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to the Grovers?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 48, then you cannot answer “Yes” to that same Defendant in the present

  question.110

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          110
                Id.


                                                         159
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                                     10160


            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 54

        Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to West Hills that the
        historical figures of the program justified the projected returns referenced in marketing
        materials provided to West Hills;

                     (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)   That Defendants made this material representation with the intent to
        induce West Hills to take such action;

               (e)   That Arbor justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to West Hills?

        Answer as to each Defendant.111

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

                    New NEL:                        ______ Yes                or   ______ No


        111
              Id.


                                                       161
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                                     10162


            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 55

        Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to Arbor that the
        historical figures of the program justified the projected returns referenced in marketing
        materials provided to Arbor;

                     (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce Arbor to take such action;

               (e)   That Arbor justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to Arbor?

        Answer as to each Defendant.112

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

                    New NEL:                        ______ Yes                or   ______ No


        112
              Id.


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                                     10164


            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 56

        Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to Nelson that the
        historical figures of the program justified the projected returns referenced in marketing
        materials provided to Nelson;

                     (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce Nelson to take such action;

               (e)   That Nelson justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to Nelson?

        Answer as to each Defendant.113

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

                    New NEL:                        ______ Yes                or   ______ No


        113
              Id.


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                                     10166


            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 57

        Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to MacDonald that the
        historical figures of the program justified the projected returns referenced in marketing
        materials provided to MacDonald;

                     (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)  That Defendants made this material representation with the intent to
        induce MacDonald to take such action;

               (e)   That MacDonald justifiably relied upon the material representation to its
        detriment; AND

                (f)    That the material representation by Defendants was the proximate cause of
        the injury to MacDonald?

        Answer as to each Defendant.114

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

                    New NEL:                        ______ Yes                or   ______ No


        114
              Id.


                                                       167
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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                              QUESTION NO. 58

        Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each made the material representation to the Grovers that the
        historical figures of the program justified the projected returns referenced in marketing
        materials provided to the Grovers;

                     (b)       That this material representation was false;

                 (c)    That Defendants made this material representation recklessly or knowing
        it to be false;

               (d)    That Defendants made this material representation with the intent to
        induce the Grovers to take such action;

               (e)   That the Grovers justifiably relied upon the material representation to their
        detriment; AND

                (f)     That the material representation by Defendants was the proximate cause of
        the injury to the Grovers?

        Answer as to each Defendant.115

                    Plummer:                        ______ Yes                or   ______ No

                    Ferguson:                       ______ Yes                or   ______ No

                    Spencer:                        ______ Yes                or   ______ No

                    ClassicStar:                    ______ Yes                or   ______ No

                    GeoStar:                        ______ Yes                or   ______ No

                    ClassicStar Farms:              ______ Yes                or   ______ No

                    ClassicStar 2004:               ______ Yes                or   ______ No

                    CFI:                            ______ Yes                or   ______ No

                    NELC:                           ______ Yes                or   ______ No

                    New NEL:                        ______ Yes                or   ______ No


        115
              Id.


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                                     10170


            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                                QUESTION NO. 59

          Do you find from a preponderance of the evidence:

                  (a)    That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to West Hills that the historical figures of the program justified the
          projected returns referenced in marketing materials provided to Plaintiffs;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

                  (d)     That Defendants provided this assistance with the intent to induce West
          Hills to take such action;

                 (e)   That West Hills justifiably relied upon the material representation to its
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to West Hills?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 54, then you cannot answer “Yes” to that same Defendant in the present

  question.116

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          116
                Id.


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                                     10172


            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                                QUESTION NO. 60

          Do you find from a preponderance of the evidence:

                  (a)    That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to Arbor that the historical figures of the program justified the projected
          returns referenced in marketing materials provided to Plaintiffs;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

                  (d)    That Defendants provided this assistance with the intent to induce Arbor
          to take such action;

                 (e)   That Arbor justifiably relied upon the material representation to its
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to Arbor?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 55, then you cannot answer “Yes” to that same Defendant in the present

  question.117

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          117
                Id.


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            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                                QUESTION NO. 61

          Do you find from a preponderance of the evidence:

                  (a)    That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to Nelson that the historical figures of the program justified the projected
          returns referenced in marketing materials provided to Plaintiffs;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

                  (d)    That Defendants provided this assistance with the intent to induce Nelson
          to take such action;

                 (e)   That Nelson justifiably relied upon the material representation to its
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to Nelson?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 56, then you cannot answer “Yes” to that same Defendant in the present

  question.118

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          118
                Id.


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                                     10176


            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                                QUESTION NO. 62

          Do you find from a preponderance of the evidence:

                  (a)    That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to MacDonald that the historical figures of the program justified the
          projected returns referenced in marketing materials provided to Plaintiffs;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

               (d)     That Defendants provided this assistance with the intent to induce
          MacDonald to take such action;

                 (e)   That MacDonald justifiably relied upon the material representation to its
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to MacDonald?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 57, then you cannot answer “Yes” to that same Defendant in the present

  question.119

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          119
                Id.


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                                     10178


            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                                QUESTION NO. 63

          Do you find from a preponderance of the evidence:

                  (a)    That in the course of marketing and operating the Mare Lease Program,
          the below listed Defendants aided and abetted other parties in promoting the material
          representation to the Grovers that the historical figures of the program justified the
          projected returns referenced in marketing materials provided to Plaintiffs;

                       (b)       That this material representation was false;

                       (c)       That Defendants provided this assistance recklessly or knowing it to be
          false;

                (d)      That Defendants provided this assistance with the intent to induce the
          Grovers to take such action;

                 (e)   That the Grovers justifiably relied upon the material representation to their
          detriment; AND

                 (f)    That each Defendants acts of aiding and abetting the misrepresentation
          was the proximate cause of the injury to the Grovers?

          Answer as to each Defendant. If you answered “Yes” to one of these Defendants in

  Question No. 58, then you cannot answer “Yes” to that same Defendant in the present

  question.120

                      Plummer:                        ______ Yes                or   ______ No

                      Ferguson:                       ______ Yes                or   ______ No

                      Spencer:                        ______ Yes                or   ______ No

                      ClassicStar:                    ______ Yes                or   ______ No

                      GeoStar:                        ______ Yes                or   ______ No

                      ClassicStar Farms:              ______ Yes                or   ______ No

                      ClassicStar 2004:               ______ Yes                or   ______ No

                      CFI:                            ______ Yes                or   ______ No


          120
                Id.


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            NELC:                     ______ Yes           or   ______ No

            New NEL:                  ______ Yes           or   ______ No

            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                         QUESTION NO. 64

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants had a duty to disclose to West Hills the relationship between
         ClassicStar and NELC;

                (b)       That these Defendants failed to disclose the relationship;

                (c)     That Defendants’ other disclosures in the marketing material and oral
         representations constituted a partial disclosure, but created the impression of full
         disclosure;

                 (d)     That Defendants’ failure to disclose this fact induced West Hills to
         participate in the Mare Lease Program;

                (e)   That West Hills justifiably relied upon the partial disclosure to its
         detriment; AND

               (f)        That the omission by Defendants was the proximate cause of the injury to
         West Hills?

         Answer as to each Defendant.121

               Plummer:                        ______ Yes             or     ______ No

               Ferguson:                       ______ Yes             or     ______ No

               Spencer:                        ______ Yes             or     ______ No

               ClassicStar:                    ______ Yes             or     ______ No

               GeoStar:                        ______ Yes             or     ______ No

               ClassicStar Farms:              ______ Yes             or     ______ No

               ClassicStar 2004:               ______ Yes             or     ______ No

               CFI:                            ______ Yes             or     ______ No

               NELC:                           ______ Yes             or     ______ No

               New NEL:                        ______ Yes             or     ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.08; Rivermont Inn, Inc. v. Bass
         121

  Hotels & Resorts, Inc., 113 S.W.3d 636 (Ky. App. 2003).


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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                         QUESTION NO. 65

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants had a duty to disclose to Arbor the relationship between
         ClassicStar and NELC;

                  (b)     That these Defendants failed to disclose the relationship;

                (c)     That Defendants’ other disclosures in the marketing material and oral
         representations constituted a partial disclosure, but created the impression of full
         disclosure;

                 (d)   That Defendants’ failure to disclose this fact induced Arbor to participate
         in the Mare Lease Program;

                  (e)     That Arbor justifiably relied upon the partial disclosure to its detriment;
         AND

                  (f)     That the omission by Defendants was the proximate cause of the injury to
         Arbor?

         Answer as to each Defendant.122

               Plummer:                        ______ Yes             or     ______ No

               Ferguson:                       ______ Yes             or     ______ No

               Spencer:                        ______ Yes             or     ______ No

               ClassicStar:                    ______ Yes             or     ______ No

               GeoStar:                        ______ Yes             or     ______ No

               ClassicStar Farms:              ______ Yes             or     ______ No

               ClassicStar 2004:               ______ Yes             or     ______ No

               CFI:                            ______ Yes             or     ______ No

               NELC:                           ______ Yes             or     ______ No

               New NEL:                        ______ Yes             or     ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.08; Rivermont Inn, Inc. v. Bass
         122

  Hotels & Resorts, Inc., 113 S.W.3d 636 (Ky. App. 2003).


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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                         QUESTION NO. 66

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants had a duty to disclose to Nelson the relationship between
         ClassicStar and NELC;

                (b)       That these Defendants failed to disclose the relationship;

                (c)     That Defendants’ other disclosures in the marketing material and oral
         representations constituted a partial disclosure, but created the impression of full
         disclosure;

                 (d)   That Defendants’ failure to disclose this fact induced Nelson to participate
         in the Mare Lease Program;

                (e)       That Nelson justifiably relied upon the partial disclosure to its detriment;
         AND

               (f)        That the omission by Defendants was the proximate cause of the injury to
         Nelson?

         Answer as to each Defendant.123

               Plummer:                        ______ Yes             or     ______ No

               Ferguson:                       ______ Yes             or     ______ No

               Spencer:                        ______ Yes             or     ______ No

               ClassicStar:                    ______ Yes             or     ______ No

               GeoStar:                        ______ Yes             or     ______ No

               ClassicStar Farms:              ______ Yes             or     ______ No

               ClassicStar 2004:               ______ Yes             or     ______ No

               CFI:                            ______ Yes             or     ______ No

               NELC:                           ______ Yes             or     ______ No

               New NEL:                        ______ Yes             or     ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.08; Rivermont Inn, Inc. v. Bass
         123

  Hotels & Resorts, Inc., 113 S.W.3d 636 (Ky. App. 2003).


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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                         QUESTION NO. 67

         Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants had a duty to disclose to MacDonald the relationship
         between ClassicStar and NELC;

                (b)       That these Defendants failed to disclose the relationship;

                (c)     That Defendants’ other disclosures in the marketing material and oral
         representations constituted a partial disclosure, but created the impression of full
         disclosure;

                 (d)     That Defendants’ failure to disclose this fact induced MacDonald to
         participate in the Mare Lease Program;

                (e)   That MacDonald justifiably relied upon the partial disclosure to its
         detriment; AND

              (f)   That the omission by Defendants was the proximate cause of the injury to
         MacDonald?

         Answer as to each Defendant.124

               Plummer:                        ______ Yes             or     ______ No

               Ferguson:                       ______ Yes             or     ______ No

               Spencer:                        ______ Yes             or     ______ No

               ClassicStar:                    ______ Yes             or     ______ No

               GeoStar:                        ______ Yes             or     ______ No

               ClassicStar Farms:              ______ Yes             or     ______ No

               ClassicStar 2004:               ______ Yes             or     ______ No

               CFI:                            ______ Yes             or     ______ No

               NELC:                           ______ Yes             or     ______ No

               New NEL:                        ______ Yes             or     ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.08; Rivermont Inn, Inc. v. Bass
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  Hotels & Resorts, Inc., 113 S.W.3d 636 (Ky. App. 2003).


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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                         QUESTION NO. 68

         Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants had a duty to disclose to the Grovers the relationship
         between ClassicStar and NELC;

                (b)       That these Defendants failed to disclose the relationship;

                (c)     That Defendants’ other disclosures in the marketing material and oral
         representations constituted a partial disclosure, but created the impression of full
         disclosure;

                 (d)     That Defendants’ failure to disclose this fact induced the Grovers to
         participate in the Mare Lease Program;

                (e)   That the Grovers justifiably relied upon the partial disclosure to their
         detriment; AND

                (f)   That the omission by Defendants was the proximate cause of the injury to
         the Grovers?

         Answer as to each Defendant.125

               Plummer:                        ______ Yes             or     ______ No

               Ferguson:                       ______ Yes             or     ______ No

               Spencer:                        ______ Yes             or     ______ No

               ClassicStar:                    ______ Yes             or     ______ No

               GeoStar:                        ______ Yes             or     ______ No

               ClassicStar Farms:              ______ Yes             or     ______ No

               ClassicStar 2004:               ______ Yes             or     ______ No

               CFI:                            ______ Yes             or     ______ No

               NELC:                           ______ Yes             or     ______ No

               New NEL:                        ______ Yes             or     ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.08; Rivermont Inn, Inc. v. Bass
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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                          QUESTION NO. 69

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants had a duty to disclose to West Hills that many of the leased
         mares were owned by Plummer, Spencer and/or Buffalo Ranch;

                (b)       That these Defendants failed to disclose this fact;

                (c)     That Defendants’ other disclosures in the marketing material and oral
         representations constituted a partial disclosure, but created the impression of full
         disclosure;

                 (d)     That Defendants’ failure to disclose this fact induced West Hills to
         participate in the Mare Lease Program;

                (e)   That West Hills justifiably relied upon the partial disclosure to its
         detriment; AND

               (f)        That the omission by Defendants was the proximate cause of the injury to
         West Hills?

         Answer as to each Defendant.126

               Plummer:                        ______ Yes             or        ______ No

               Ferguson:                       ______ Yes             or        ______ No

               Spencer:                        ______ Yes             or        ______ No

               ClassicStar:                    ______ Yes             or        ______ No

               GeoStar:                        ______ Yes             or        ______ No

               ClassicStar Farms:              ______ Yes             or        ______ No

               ClassicStar 2004:               ______ Yes             or        ______ No

               CFI:                            ______ Yes             or        ______ No

               NELC:                           ______ Yes             or        ______ No

               New NEL:                        ______ Yes             or        ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.08; Rivermont Inn, Inc. v. Bass
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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                          QUESTION NO. 70

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants had a duty to disclose to Arbor that many of the leased mares
         were owned by Plummer, Spencer and/or Buffalo Ranch;

                  (b)     That these Defendants failed to disclose this fact;

                (c)     That Defendants’ other disclosures in the marketing material and oral
         representations constituted a partial disclosure, but created the impression of full
         disclosure;

                 (d)   That Defendants’ failure to disclose this fact induced Arbor to participate
         in the Mare Lease Program;

                  (e)     That Arbor justifiably relied upon the partial disclosure to its detriment;
         AND

                  (f)     That the omission by Defendants was the proximate cause of the injury to
         Arbor?

         Answer as to each Defendant.127

               Plummer:                        ______ Yes             or        ______ No

               Ferguson:                       ______ Yes             or        ______ No

               Spencer:                        ______ Yes             or        ______ No

               ClassicStar:                    ______ Yes             or        ______ No

               GeoStar:                        ______ Yes             or        ______ No

               ClassicStar Farms:              ______ Yes             or        ______ No

               ClassicStar 2004:               ______ Yes             or        ______ No

               CFI:                            ______ Yes             or        ______ No

               NELC:                           ______ Yes             or        ______ No

               New NEL:                        ______ Yes             or        ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.08; Rivermont Inn, Inc. v. Bass
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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                          QUESTION NO. 71

         Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants had a duty to disclose to Nelson that many of the leased
         mares were owned by Plummer, Spencer and/or Buffalo Ranch;

                (b)       That these Defendants failed to disclose this fact;

                (c)     That Defendants’ other disclosures in the marketing material and oral
         representations constituted a partial disclosure, but created the impression of full
         disclosure;

                 (d)   That Defendants’ failure to disclose this fact induced Nelson to participate
         in the Mare Lease Program;

                (e)       That Nelson justifiably relied upon the partial disclosure to its detriment;
         AND

               (f)        That the omission by Defendants was the proximate cause of the injury to
         Nelson?

         Answer as to each Defendant.128

               Plummer:                        ______ Yes             or        ______ No

               Ferguson:                       ______ Yes             or        ______ No

               Spencer:                        ______ Yes             or        ______ No

               ClassicStar:                    ______ Yes             or        ______ No

               GeoStar:                        ______ Yes             or        ______ No

               ClassicStar Farms:              ______ Yes             or        ______ No

               ClassicStar 2004:               ______ Yes             or        ______ No

               CFI:                            ______ Yes             or        ______ No

               NELC:                           ______ Yes             or        ______ No

               New NEL:                        ______ Yes             or        ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.08; Rivermont Inn, Inc. v. Bass
         128

  Hotels & Resorts, Inc., 113 S.W.3d 636 (Ky. App. 2003).


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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                          QUESTION NO. 72

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants had a duty to disclose to MacDonald that many of the leased
         mares were owned by Plummer, Spencer and/or Buffalo Ranch;

                (b)       That these Defendants failed to disclose this fact;

                (c)     That Defendants’ other disclosures in the marketing material and oral
         representations constituted a partial disclosure, but created the impression of full
         disclosure;

                 (d)     That Defendants’ failure to disclose this fact induced MacDonald to
         participate in the Mare Lease Program;

                (e)   That MacDonald justifiably relied upon the partial disclosure to its
         detriment; AND

              (f)   That the omission by Defendants was the proximate cause of the injury to
         MacDonald?

         Answer as to each Defendant.129

               Plummer:                        ______ Yes             or        ______ No

               Ferguson:                       ______ Yes             or        ______ No

               Spencer:                        ______ Yes             or        ______ No

               ClassicStar:                    ______ Yes             or        ______ No

               GeoStar:                        ______ Yes             or        ______ No

               ClassicStar Farms:              ______ Yes             or        ______ No

               ClassicStar 2004:               ______ Yes             or        ______ No

               CFI:                            ______ Yes             or        ______ No

               NELC:                           ______ Yes             or        ______ No

               New NEL:                        ______ Yes             or        ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.08; Rivermont Inn, Inc. v. Bass
         129

  Hotels & Resorts, Inc., 113 S.W.3d 636 (Ky. App. 2003).


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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                          QUESTION NO. 73

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants had a duty to disclose to the Grovers that many of the leased
         mares were owned by Plummer, Spencer and/or Buffalo Ranch;

                (b)       That these Defendants failed to disclose this fact;

                (c)     That Defendants’ other disclosures in the marketing material and oral
         representations constituted a partial disclosure, but created the impression of full
         disclosure;

                 (d)     That Defendants’ failure to disclose this fact induced the Grovers to
         participate in the Mare Lease Program;

                (e)   That the Grovers justifiably relied upon the partial disclosure to their
         detriment; AND

                (f)   That the omission by Defendants was the proximate cause of the injury to
         the Grovers?

         Answer as to each Defendant.130

               Plummer:                        ______ Yes             or        ______ No

               Ferguson:                       ______ Yes             or        ______ No

               Spencer:                        ______ Yes             or        ______ No

               ClassicStar:                    ______ Yes             or        ______ No

               GeoStar:                        ______ Yes             or        ______ No

               ClassicStar Farms:              ______ Yes             or        ______ No

               ClassicStar 2004:               ______ Yes             or        ______ No

               CFI:                            ______ Yes             or        ______ No

               NELC:                           ______ Yes             or        ______ No

               New NEL:                        ______ Yes             or        ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.08; Rivermont Inn, Inc. v. Bass
         130

  Hotels & Resorts, Inc., 113 S.W.3d 636 (Ky. App. 2003).


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            Buffalo Ranch:           ______ Yes          or     ______ No

            FEEP:                     ______ Yes           or   ______ No

            GEEI:                     ______ Yes           or   ______ No

            Gastar:                  ______ Yes          or     ______ No

            Robinson:                 ______ Yes           or   ______ No

            Parrott:                  ______ Yes           or   ______ No



                             ___________________________
                              FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

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                               MEMBERS OF THE JURY
                                  (if not unanimous)




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                                         QUESTION NO. 74

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants each represented to West Hills that the Mare Lease Program
         was structured such that it fell within certain IRS guidelines for certain deductions;

                (b)     That Defendants intended for West Hills to rely upon the accuracy of such
         representations in proceeding with participating in the Mare Lease Program;

                (c)    That West Hills in fact justifiably relied upon Defendants’ representations
         and otherwise West Hills would not have participated in the Mare Lease Program;

                (d)       That Defendants’ representations were false;

                 (e)     That Defendants, in exercising the degree of care expected of a party
         associated with a mare leasing business under similar circumstances, should have realized
         that the representations were false; AND

                 (f)    That West Hills suffered a pecuniary, “or monetary,” loss for which its
         reliance on Defendants’ representation was a substantial factor?

         Answer as to each Defendant.131

               Plummer:                       ______ Yes            or   ______ No

               Ferguson:                      ______ Yes            or   ______ No

               Spencer:                       ______ Yes            or   ______ No

               ClassicStar:                   ______ Yes            or   ______ No

               Gastar:                        ______ Yes            or   ______ No

               GeoStar:                       ______ Yes            or   ______ No

               ClassicStar 2004:              ______ Yes            or   ______ No

               CFI:                           ______ Yes            or   ______ No

               NELC:                          ______ Yes            or   ______ No

               New NEL:                       ______ Yes            or   ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.10; Presnell Const. Managers, Inc.
         131

  v. EH Const., LLC, 134 S.W.3d 575 (Ky. 2004).


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                                     10202


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                         QUESTION NO. 75

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants each represented to Arbor that the Mare Lease Program was
         structured such that it fell within certain IRS guidelines for certain deductions;

                (b)     That Defendants intended for Arbor to rely upon the accuracy of such
         representations in proceeding with participating in the Mare Lease Program;

                (c)    That Arbor in fact justifiably relied upon Defendants’ representations and
         otherwise Arbor would not have participated in the Mare Lease Program;

                (d)       That Defendants’ representations were false;

                 (e)     That Defendants, in exercising the degree of care expected of a party
         associated with a mare leasing business under similar circumstances, should have realized
         that the representations were false; AND

                (f)    That Arbor suffered a pecuniary, “or monetary,” loss for which its reliance
         on Defendants’ representation was a substantial factor?

         Answer as to each Defendant.132

               Plummer:                       ______ Yes            or   ______ No

               Ferguson:                      ______ Yes            or   ______ No

               Spencer:                       ______ Yes            or   ______ No

               ClassicStar:                   ______ Yes            or   ______ No

               Gastar:                        ______ Yes            or   ______ No

               GeoStar:                       ______ Yes            or   ______ No

               ClassicStar 2004:              ______ Yes            or   ______ No

               CFI:                           ______ Yes            or   ______ No

               NELC:                          ______ Yes            or   ______ No

               New NEL:                       ______ Yes            or   ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.10; Presnell Const. Managers, Inc.
         132

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                                     10204


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                         QUESTION NO. 76

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants each represented to Nelson that the Mare Lease Program was
         structured such that it fell within certain IRS guidelines for certain deductions;

                (b)     That Defendants intended for Nelson to rely upon the accuracy of such
         representations in proceeding with participating in the Mare Lease Program;

                (c)    That Nelson in fact justifiably relied upon Defendants’ representations and
         otherwise Nelson would not have participated in the Mare Lease Program;

                (d)       That Defendants’ representations were false;

                 (e)     That Defendants, in exercising the degree of care expected of a party
         associated with a mare leasing business under similar circumstances, should have realized
         that the representations were false; AND

                 (f)    That Nelson suffered a pecuniary, “or monetary,” loss for which its
         reliance on Defendants’ representation was a substantial factor?

         Answer as to each Defendant.133

               Plummer:                       ______ Yes            or   ______ No

               Ferguson:                      ______ Yes            or   ______ No

               Spencer:                       ______ Yes            or   ______ No

               ClassicStar:                   ______ Yes            or   ______ No

               Gastar:                        ______ Yes            or   ______ No

               GeoStar:                       ______ Yes            or   ______ No

               ClassicStar 2004:              ______ Yes            or   ______ No

               CFI:                           ______ Yes            or   ______ No

               NELC:                          ______ Yes            or   ______ No

               New NEL:                       ______ Yes            or   ______ No

           See Palmore’s Kentucky Instructions to Juries, § 31.10; Presnell Const. Managers, Inc.
         133

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            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                         QUESTION NO. 77

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants each represented to MacDonald that the Mare Lease Program
         was structured such that it fell within certain IRS guidelines for certain deductions;

                (b)     That Defendants intended for MacDonald to rely upon the accuracy of
         such representations in proceeding with participating in the Mare Lease Program;

                (c)     That MacDonald in fact justifiably relied upon Defendants’
         representations and otherwise MacDonald would not have participated in the Mare Lease
         Program;

                (d)       That Defendants’ representations were false;

                 (e)     That Defendants, in exercising the degree of care expected of a party
         associated with a mare leasing business under similar circumstances, should have realized
         that the representations were false; AND

                 (f)    That MacDonald suffered a pecuniary, “or monetary,” loss for which its
         reliance on Defendants’ representation was a substantial factor?

         Answer as to each Defendant.134

               Plummer:                       ______ Yes            or   ______ No

               Ferguson:                      ______ Yes            or   ______ No

               Spencer:                       ______ Yes            or   ______ No

               ClassicStar:                   ______ Yes            or   ______ No

               Gastar:                        ______ Yes            or   ______ No

               GeoStar:                       ______ Yes            or   ______ No

               ClassicStar 2004:              ______ Yes            or   ______ No

               CFI:                           ______ Yes            or   ______ No

               NELC:                          ______ Yes            or   ______ No


           See Palmore’s Kentucky Instructions to Juries, § 31.10; Presnell Const. Managers, Inc.
         134

  v. EH Const., LLC, 134 S.W.3d 575 (Ky. 2004).


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            New NEL:                ______ Yes           or    ______ No

            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

  ____________________________________         ___________________________________

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                         QUESTION NO. 78

         Do you find from a preponderance of the evidence:

                 (a)    That in the course of marketing and operating the Mare Lease Program,
         the below listed Defendants each represented to the Grovers that the Mare Lease Program
         was structured such that it fell within certain IRS guidelines for certain deductions;

                (b)     That Defendants intended for the Grovers to rely upon the accuracy of
         such representations in proceeding with participating in the Mare Lease Program;

                (c)     That the Grovers in fact justifiably relied upon Defendants’
         representations and otherwise the Grovers would not have participated in the Mare Lease
         Program;

                (d)       That Defendants’ representations were false;

                 (e)     That Defendants, in exercising the degree of care expected of a party
         associated with a mare leasing business under similar circumstances, should have realized
         that the representations were false; AND

                 (f)    That the Grovers suffered a pecuniary, “or monetary,” loss for which their
         reliance on Defendants’ representation was a substantial factor?

         Answer as to each Defendant.135

               Plummer:                       ______ Yes            or   ______ No

               Ferguson:                      ______ Yes            or   ______ No

               Spencer:                       ______ Yes            or   ______ No

               ClassicStar:                   ______ Yes            or   ______ No

               Gastar:                        ______ Yes            or   ______ No

               GeoStar:                       ______ Yes            or   ______ No

               ClassicStar 2004:              ______ Yes            or   ______ No

               CFI:                           ______ Yes            or   ______ No

               NELC:                          ______ Yes            or   ______ No


           See Palmore’s Kentucky Instructions to Juries, § 31.10; Presnell Const. Managers, Inc.
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            New NEL:                ______ Yes           or    ______ No

            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 79

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented that West Hills would be provided services,
        as described in the various mare lease contracts, that were of equal or greater value than
        those services described in the mare lease contracts;

               (b)     That Defendants intended for West Hills to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That West Hills in fact justifiably relied upon Defendants’ representations
        and otherwise West Hills would not have participating in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That West Hills suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.136

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        136
              Id.


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                                     10212


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 80

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented that Arbor would be provided services, as
        described in the various mare lease contracts, that were of equal or greater value than
        those services described in the mare lease contracts;

               (b)     That Defendants intended for Arbor to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That Arbor in fact justifiably relied upon Defendants’ representations and
        otherwise Arbor would not have participating in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

               (f)    That Arbor suffered a pecuniary, “or monetary,” loss for which its reliance
        on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.137

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        137
              Id.


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                                     10214


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 81

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented that Nelson would be provided services, as
        described in the various mare lease contracts, that were of equal or greater value than
        those services described in the mare lease contracts;

               (b)     That Defendants intended for Nelson to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That Nelson in fact justifiably relied upon Defendants’ representations and
        otherwise Nelson would not have participating in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That Nelson suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.138

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

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              Id.


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            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 82

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented that MacDonald would be provided
        services, as described in the various mare lease contracts, that were of equal or greater
        value than those services described in the mare lease contracts;

               (b)     That Defendants intended for MacDonald to rely upon the accuracy of
        such representations in proceeding with participating in the Mare Lease Program;

               (c)     That MacDonald in fact justifiably relied upon Defendants’
        representations and otherwise MacDonald would not have participating in the Mare
        Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That MacDonald suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.139

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No


        139
              Id.


                                                      217
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                                     10218


            New NEL:                ______ Yes           or    ______ No

            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 83

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented that the Grovers would be provided
        services, as described in the various mare lease contracts, that were of equal or greater
        value than those services described in the mare lease contracts;

               (b)     That Defendants intended for the Grovers to rely upon the accuracy of
        such representations in proceeding with participating in the Mare Lease Program;

               (c)     That the Grovers in fact justifiably relied upon Defendants’
        representations and otherwise the Grovers would not have participating in the Mare Lease
        Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That the Grovers suffered a pecuniary, “or monetary,” loss for which their
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.140

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No


        140
              Id.


                                                      219
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                                     10220


            New NEL:                ______ Yes           or    ______ No

            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




                                         220
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                                     10221


                                              QUESTION NO. 84

        Do you find from a preponderance of the evidence:

                (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to West Hills that the horses used in the
        Mare Lease Program had value corresponding with the value that was presented to West
        Hills in various marketing material;

               (b)     That Defendants intended for West Hills to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That West Hills in fact justifiably relied upon Defendants’ representations
        and otherwise West Hills would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That West Hills suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.141

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        141
              Id.


                                                      221
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                                     10222


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                     10223


                                              QUESTION NO. 85

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to Arbor that the horses used in the Mare
        Lease Program had value corresponding with the value that was presented to Arbor in
        various marketing material;

               (b)     That Defendants intended for Arbor to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That Arbor in fact justifiably relied upon Defendants’ representations and
        otherwise Arbor would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

               (f)    That Arbor suffered a pecuniary, “or monetary,” loss for which its reliance
        on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.142

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        142
              Id.


                                                      223
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                                     10224


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                     10225


                                              QUESTION NO. 86

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to Nelson that the horses used in the Mare
        Lease Program had value corresponding with the value that was presented to Nelson in
        various marketing material;

               (b)     That Defendants intended for Nelson to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That Nelson in fact justifiably relied upon Defendants’ representations and
        otherwise Nelson would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That Nelson suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.143

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        143
              Id.


                                                      225
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                                     10226


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                     10227


                                              QUESTION NO. 87

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to MacDonald that the horses used in the
        Mare Lease Program had value corresponding with the value that was presented to
        MacDonald in various marketing material;

               (b)     That Defendants intended for MacDonald to rely upon the accuracy of
        such representations in proceeding with participating in the Mare Lease Program;

               (c)     That MacDonald in fact justifiably relied upon Defendants’
        representations and otherwise MacDonald would not have participated in the Mare Lease
        Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That MacDonald suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.144

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No


        144
              Id.


                                                      227
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                                     10228


            New NEL:                ______ Yes           or    ______ No

            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 88

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to the Grovers that the horses used in the
        Mare Lease Program had value corresponding with the value that was presented to the
        Grovers in various marketing material;

               (b)     That Defendants intended for the Grovers to rely upon the accuracy of
        such representations in proceeding with participating in the Mare Lease Program;

               (c)     That the Grovers in fact justifiably relied upon Defendants’
        representations and otherwise the Grovers would not have participated in the Mare Lease
        Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That the Grovers suffered a pecuniary, “or monetary,” loss for which their
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.145

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No


        145
              Id.


                                                      229
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            New NEL:                ______ Yes           or    ______ No

            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                     10231


                                              QUESTION NO. 89

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to West Hills that the horses offered in the
        Mare Lease Program were exclusively thoroughbred horses;

               (b)     That Defendants intended for West Hills to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That West Hills in fact justifiably relied upon Defendants’ representations
        and otherwise Plaintiffs would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That West Hills suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.146

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No


        146
              Id.


                                                      231
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                                     10232


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 90

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to Arbor that the horses offered in the Mare
        Lease Program were exclusively thoroughbred horses;

               (b)     That Defendants intended for Arbor to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That Arbor in fact justifiably relied upon Defendants’ representations and
        otherwise Arbor would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

               (f)    That Arbor suffered a pecuniary, “or monetary,” loss for which its reliance
        on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.147

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No


        147
              Id.


                                                      233
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            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 91

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to Nelson that the horses offered in the
        Mare Lease Program were exclusively thoroughbred horses;

               (b)     That Defendants intended for Nelson to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That Nelson in fact justifiably relied upon Defendants’ representations and
        otherwise Nelson would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That Nelson suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.148

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No


        148
              Id.


                                                      235
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                                     10236


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 92

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to MacDonald that the horses offered in the
        Mare Lease Program were exclusively thoroughbred horses;

               (b)     That Defendants intended for MacDonald to rely upon the accuracy of
        such representations in proceeding with participating in the Mare Lease Program;

               (c)     That MacDonald in fact justifiably relied upon Defendants’
        representations and otherwise MacDonald would not have participated in the Mare Lease
        Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That MacDonald suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.149

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        149
              Id.


                                                      237
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                                     10238


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 93

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to the Grovers that the horses offered in the
        Mare Lease Program were exclusively thoroughbred horses;

               (b)     That Defendants intended for the Grovers to rely upon the accuracy of
        such representations in proceeding with participating in the Mare Lease Program;

               (c)     That the Grovers in fact justifiably relied upon Defendants’
        representations and otherwise the Grovers would not have participated in the Mare Lease
        Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That the Grovers suffered a pecuniary, “or monetary,” loss for which their
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.150

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        150
              Id.


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                                     10240


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                              QUESTION NO. 94

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to West Hills that the horses offered in the
        Mare Lease Program were owned by ClassicStar;

               (b)     That Defendants intended for West Hills to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That West Hills in fact justifiably relied upon Defendants’ representations
        and otherwise Plaintiffs would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That West Hills suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.151

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No


        151
              Id.


                                                      241
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                                     10242


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




                                         242
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                                     10243


                                              QUESTION NO. 95

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to Arbor that the horses offered in the Mare
        Lease Program were owned by ClassicStar;

               (b)     That Defendants intended for Arbor to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)     That Arbor in fact justifiably relied upon Defendants’ representations and
        otherwise Plaintiffs would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

               (f)    That Arbor suffered a pecuniary, “or monetary,” loss for which its reliance
        on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.152

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No


        152
              Id.


                                                      243
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                                     10244


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                     10245


                                              QUESTION NO. 96

        Do you find from a preponderance of the evidence:

               (a)     That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to Nelson that the horses offered in the
        Mare Lease Program were owned by ClassicStar;

               (b)     That Defendants intended for Nelson to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)     That Nelson in fact justifiably relied upon Defendants’ representations and
        otherwise Plaintiffs would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That Nelson suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.153

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No


        153
              Id.


                                                      245
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                                     10246


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




                                         246
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                                     10247


                                              QUESTION NO. 97

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to MacDonald that the horses offered in the
        Mare Lease Program were owned by ClassicStar;

               (b)     That Defendants intended for MacDonald to rely upon the accuracy of
        such representations in proceeding with participating in the Mare Lease Program;

               (c)     That MacDonald in fact justifiably relied upon Defendants’
        representations and otherwise Plaintiffs would not have participated in the Mare Lease
        Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That MacDonald suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.154

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        154
              Id.


                                                      247
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                                     10248


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




                                         248
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                                     10249


                                              QUESTION NO. 98

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to the Grovers that the horses offered in the
        Mare Lease Program were owned by ClassicStar;

               (b)     That Defendants intended for the Grovers to rely upon the accuracy of
        such representations in proceeding with participating in the Mare Lease Program;

               (c)     That the Grovers in fact justifiably relied upon Defendants’
        representations and otherwise Plaintiffs would not have participated in the Mare Lease
        Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That the Grovers suffered a pecuniary, “or monetary,” loss for which their
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.155

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        155
              Id.


                                                      249
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                                     10250


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




                                         250
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                                     10251


                                              QUESTION NO. 99

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to West Hills that the historical figures of
        the program justified the projected returns referenced in marketing materials provided to
        Plaintiffs;

               (b)     That Defendants intended for West Hills to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That West Hills in fact justifiably relied upon Defendants’ representations
        and otherwise West Hills would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That West Hills suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.156

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        156
              Id.


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                                     10252


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                             QUESTION NO. 100

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to Arbor that the historical figures of the
        program justified the projected returns referenced in marketing materials provided to
        Plaintiffs;

               (b)     That Defendants intended for Arbor to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That Arbor in fact justifiably relied upon Defendants’ representations and
        otherwise Arbor would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

               (f)    That Arbor suffered a pecuniary, “or monetary,” loss for which its reliance
        on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.157

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        157
              Id.


                                                      253
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            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                             QUESTION NO. 101

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to Nelson that the historical figures of the
        program justified the projected returns referenced in marketing materials provided to
        Plaintiffs;

               (b)     That Defendants intended for Nelson to rely upon the accuracy of such
        representations in proceeding with participating in the Mare Lease Program;

               (c)    That Nelson in fact justifiably relied upon Defendants’ representations and
        otherwise Nelson would not have participated in the Mare Lease Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That Nelson suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.158

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No

                    New NEL:                       ______ Yes            or   ______ No

        158
              Id.


                                                      255
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                                     10256


            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                             QUESTION NO. 102

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to MacDonald that the historical figures of
        the program justified the projected returns referenced in marketing materials provided to
        Plaintiffs;

               (b)     That Defendants intended for MacDonald to rely upon the accuracy of
        such representations in proceeding with participating in the Mare Lease Program;

               (c)     That MacDonald in fact justifiably relied upon Defendants’
        representations and otherwise MacDonald would not have participated in the Mare Lease
        Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That MacDonald suffered a pecuniary, “or monetary,” loss for which its
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.159

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No


        159
              Id.


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            New NEL:                ______ Yes           or    ______ No

            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                             QUESTION NO. 103

        Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
        the below listed Defendants each represented to the Grovers that the historical figures of
        the program justified the projected returns referenced in marketing materials provided to
        Plaintiffs;

               (b)     That Defendants intended for the Grovers to rely upon the accuracy of
        such representations in proceeding with participating in the Mare Lease Program;

               (c)     That the Grovers in fact justifiably relied upon Defendants’
        representations and otherwise the Grovers would not have participated in the Mare Lease
        Program;

                     (d)       That Defendants’ representations were false;

                (e)     That Defendants, in exercising the degree of care expected of a party
        associated with a mare leasing business under similar circumstances, should have realized
        that the representations were false; AND

                (f)    That the Grovers suffered a pecuniary, “or monetary,” loss for which their
        reliance on Defendants’ representation was a substantial factor?

        Answer as to each Defendant.160

                    Plummer:                       ______ Yes            or   ______ No

                    Ferguson:                      ______ Yes            or   ______ No

                    Spencer:                       ______ Yes            or   ______ No

                    ClassicStar:                   ______ Yes            or   ______ No

                    Gastar:                        ______ Yes            or   ______ No

                    GeoStar:                       ______ Yes            or   ______ No

                    ClassicStar 2004:              ______ Yes            or   ______ No

                    CFI:                           ______ Yes            or   ______ No

                    NELC:                          ______ Yes            or   ______ No


        160
              Id.


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            New NEL:                ______ Yes           or    ______ No

            FEEP:                   ______ Yes           or    ______ No

            GEEI:                   ______ Yes           or    ______ No



                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                          QUESTION NO. 104

         Do you find from a preponderance of the evidence that ClassicStar and/or ClassicStar

  2004 entered into a contractual relationship with West Hills in which both ClassicStar and/or

  ClassicStar 2004 and West Hills understood and agreed

         (a)    that ClassicStar and/or ClassicStar 2004 owned the mares being leased, that they
         would breed the horses on Westhills’ schedules, that they would pay all stallion fees, that
         the substitute of quarter horses would have equal value of the thoroughbreds, and that
         they agreed to obtain insurance for the mares; AND

         (b)     that ClassicStar and/or ClassicStar 2004’s failure to perform one of these acts
         constituted a breach of the contract?

         Answer as to each Defendant.161

                  ClassicStar:                 ______ Yes           or     ______ No

                  ClassicStar 2004:            ______ Yes           or     ______ No



                                      ___________________________
                                       FOREPERSON (if unanimous)

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

                                        MEMBERS OF THE JURY
                                           (if not unanimous)




         161
               Palmore’s Kentucky Instructions to Juries § 39.15.


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                                          QUESTION NO. 105

         Do you find from a preponderance of the evidence that ClassicStar and/or ClassicStar

  2004 entered into a contractual relationship with Arbor in which both ClassicStar and/or

  ClassicStar 2004 and Arbor understood and agreed

         (a)    that ClassicStar and/or ClassicStar 2004 owned the mares being leased, that they
         would breed the horses on Arbor’s schedules, that they would pay all stallion fees, that
         the substitute of quarter horses would have equal value of the thoroughbreds, and that
         they agreed to obtain insurance for the mares; AND

         (b)     that ClassicStar and/or ClassicStar 2004’s failure to perform one of these acts
         constituted a breach of the contract?

         Answer as to each Defendant.162

                  ClassicStar:                 ______ Yes           or   ______ No

                  ClassicStar 2004:            ______ Yes           or   ______ No



                                      ___________________________
                                       FOREPERSON (if unanimous)

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

                                        MEMBERS OF THE JURY
                                           (if not unanimous)




         162
               Palmore’s Kentucky Instructions to Juries § 39.15.


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                                          QUESTION NO. 106

         Do you find from a preponderance of the evidence that ClassicStar and/or ClassicStar

  2004 entered into a contractual relationship with Nelson in which both ClassicStar and/or

  ClassicStar 2004 and Nelson understood and agreed

         (a)    that ClassicStar and/or ClassicStar 2004 owned the mares being leased, that they
         would breed the horses on Nelson’s schedules, that they would pay all stallion fees, that
         the substitute of quarter horses would have equal value of the thoroughbreds, and that
         they agreed to obtain insurance for the mares; AND

         (b)     that ClassicStar and/or ClassicStar 2004’s failure to perform one of these acts
         constituted a breach of the contract?

         Answer as to each Defendant.163

                  ClassicStar:                 ______ Yes           or   ______ No

                  ClassicStar 2004:            ______ Yes           or   ______ No



                                      ___________________________
                                       FOREPERSON (if unanimous)

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

                                        MEMBERS OF THE JURY
                                           (if not unanimous)




         163
               Palmore’s Kentucky Instructions to Juries § 39.15.


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                                          QUESTION NO. 107

         Do you find from a preponderance of the evidence that ClassicStar and/or ClassicStar

  2004 entered into a contractual relationship with MacDonald in which both ClassicStar and/or

  ClassicStar 2004 and MacDonald understood and agreed

         (a)     that ClassicStar and/or ClassicStar 2004 owned the mares being leased, that they
         would breed the horses on MacDonald’s schedules, that they would pay all stallion fees,
         that the substitute of quarter horses would have equal value of the thoroughbreds, and
         that they agreed to obtain insurance for the mares; AND

         (b)     that ClassicStar and/or ClassicStar 2004’s failure to perform one of these acts
         constituted a breach of the contract?

         Answer as to each Defendant.164

                  ClassicStar:                 ______ Yes           or   ______ No

                  ClassicStar 2004:            ______ Yes           or   ______ No



                                      ___________________________
                                       FOREPERSON (if unanimous)

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

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  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

                                        MEMBERS OF THE JURY
                                           (if not unanimous)




         164
               Palmore’s Kentucky Instructions to Juries § 39.15.


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                                          QUESTION NO. 108

         Do you find from a preponderance of the evidence that ClassicStar and/or ClassicStar

  2004 entered into a contractual relationship with the Grover in which both ClassicStar and/or

  ClassicStar 2004 and the Grovers understood and agreed

         (a)     that ClassicStar and/or ClassicStar 2004 owned the mares being leased, that they
         would breed the horses on the Grovers’ schedules, that they would pay all stallion fees,
         that the substitute of quarter horses would have equal value of the thoroughbreds, and
         that they agreed to obtain insurance for the mares; AND

         (b)     that ClassicStar and/or ClassicStar 2004’s failure to perform one of these acts
         constituted a breach of the contract?

         Answer as to each Defendant.165

                  ClassicStar:                 ______ Yes           or   ______ No

                  ClassicStar 2004:            ______ Yes           or   ______ No



                                      ___________________________
                                       FOREPERSON (if unanimous)

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

  ____________________________________                   ___________________________________

                                        MEMBERS OF THE JURY
                                           (if not unanimous)




         165
               Palmore’s Kentucky Instructions to Juries § 39.15.


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                                            QUESTION NO. 109

           Do you find from a preponderance of the evidence:

                  (a)   That a benefit was conferred upon each Defendant below at West Hills’
           expenses when it purchased interests in the Mare Lease Program;

                     (b)      That each Defendant below realized an appreciation from that benefit;
           AND

                     (c)      That each Defendants’ retention of the benefit would be inequitable.

           Answer as to each Defendant.166

                   Plummer:                       ______ Yes            or      ______ No

                   Spencer:                       ______ Yes            or      ______ No

                   Ferguson:                      ______ Yes            or      ______ No

                   Robinson:                      ______ Yes            or      ______ No

                   Parrott:                       ______ Yes            or      ______ No

                   ClassicStar:                   ______ Yes            or      ______ No

                   ClassicStar 2004:              ______ Yes            or      ______ No

                   CFI:                           ______ Yes            or      ______ No

                   ClassicStar Farms:             ______ Yes            or      ______ No

                   ClassicStar Thoroughbreds: ______ Yes                or      ______ No

                   Gastar:                        ______ Yes            or      ______ No

                   GeoStar:                       ______ Yes            or      ______ No

                   NELC:                          ______ Yes            or      ______ No

                   New NEL:                       ______ Yes            or      ______ No

                   Buffalo Ranch:                 ______ Yes            or      ______ No


           166
                 Guarantee Elec. Co. v. Big Rivers Elec. Corp., 669 F. Supp. 1371, 1380-81 (W.D. Ky.
  1987).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                            QUESTION NO. 110

           Do you find from a preponderance of the evidence:

                  (a)   That a benefit was conferred upon each Defendant below at Arbor’s
           expenses when it purchased interests in the Mare Lease Program;

                     (b)      That each Defendant below realized an appreciation from that benefit;
           AND

                     (c)      That each Defendants’ retention of the benefit would be inequitable.

           Answer as to each Defendant.167

                   Plummer:                       ______ Yes            or      ______ No

                   Spencer:                       ______ Yes            or      ______ No

                   Ferguson:                      ______ Yes            or      ______ No

                   Robinson:                      ______ Yes            or      ______ No

                   Parrott:                       ______ Yes            or      ______ No

                   ClassicStar:                   ______ Yes            or      ______ No

                   ClassicStar 2004:              ______ Yes            or      ______ No

                   CFI:                           ______ Yes            or      ______ No

                   ClassicStar Farms:             ______ Yes            or      ______ No

                   ClassicStar Thoroughbreds: ______ Yes                or      ______ No

                   Gastar:                        ______ Yes            or      ______ No

                   GeoStar:                       ______ Yes            or      ______ No

                   NELC:                          ______ Yes            or      ______ No

                   New NEL:                       ______ Yes            or      ______ No

                   Buffalo Ranch:                 ______ Yes            or      ______ No


           167
                 Guarantee Elec. Co. v. Big Rivers Elec. Corp., 669 F. Supp. 1371, 1380-81 (W.D. Ky.
  1987).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                            QUESTION NO. 111

           Do you find from a preponderance of the evidence:

                  (a)   That a benefit was conferred upon each Defendant below at Nelson’s
           expenses when it purchased interests in the Mare Lease Program;

                     (b)      That each Defendant below realized an appreciation from that benefit;
           AND

                     (c)      That each Defendants’ retention of the benefit would be inequitable.

           Answer as to each Defendant.168

                   Plummer:                       ______ Yes            or      ______ No

                   Spencer:                       ______ Yes            or      ______ No

                   Ferguson:                      ______ Yes            or      ______ No

                   Robinson:                      ______ Yes            or      ______ No

                   Parrott:                       ______ Yes            or      ______ No

                   ClassicStar:                   ______ Yes            or      ______ No

                   ClassicStar 2004:              ______ Yes            or      ______ No

                   CFI:                           ______ Yes            or      ______ No

                   ClassicStar Farms:             ______ Yes            or      ______ No

                   ClassicStar Thoroughbreds: ______ Yes                or      ______ No

                   Gastar:                        ______ Yes            or      ______ No

                   GeoStar:                       ______ Yes            or      ______ No

                   NELC:                          ______ Yes            or      ______ No

                   New NEL:                       ______ Yes            or      ______ No

                   Buffalo Ranch:                 ______ Yes            or      ______ No


           168
                 Guarantee Elec. Co. v. Big Rivers Elec. Corp., 669 F. Supp. 1371, 1380-81 (W.D. Ky.
  1987).


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                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                            QUESTION NO. 112

           Do you find from a preponderance of the evidence:

                  (a)   That a benefit was conferred upon each Defendant below at MacDonald’s
           expenses when it purchased interests in the Mare Lease Program;

                     (b)      That each Defendant below realized an appreciation from that benefit;
           AND

                     (c)      That each Defendants’ retention of the benefit would be inequitable.

           Answer as to each Defendant.169

                   Plummer:                       ______ Yes            or      ______ No

                   Spencer:                       ______ Yes            or      ______ No

                   Ferguson:                      ______ Yes            or      ______ No

                   Robinson:                      ______ Yes            or      ______ No

                   Parrott:                       ______ Yes            or      ______ No

                   ClassicStar:                   ______ Yes            or      ______ No

                   ClassicStar 2004:              ______ Yes            or      ______ No

                   CFI:                           ______ Yes            or      ______ No

                   ClassicStar Farms:             ______ Yes            or      ______ No

                   ClassicStar Thoroughbreds: ______ Yes                or      ______ No

                   Gastar:                        ______ Yes            or      ______ No

                   GeoStar:                       ______ Yes            or      ______ No

                   NELC:                          ______ Yes            or      ______ No

                   New NEL:                       ______ Yes            or      ______ No

                   Buffalo Ranch:                 ______ Yes            or      ______ No


           169
                 Guarantee Elec. Co. v. Big Rivers Elec. Corp., 669 F. Supp. 1371, 1380-81 (W.D. Ky.
  1987).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                            QUESTION NO. 113

           Do you find from a preponderance of the evidence:

                 (a)    That a benefit was conferred upon each Defendant below at the Grover’s
           expenses when they purchased interests in the Mare Lease Program;

                     (b)      That each Defendant below realized an appreciation from that benefit;
           AND

                     (c)      That each Defendants’ retention of the benefit would be inequitable.

           Answer as to each Defendant.170

                   Plummer:                       ______ Yes            or      ______ No

                   Spencer:                       ______ Yes            or      ______ No

                   Ferguson:                      ______ Yes            or      ______ No

                   Robinson:                      ______ Yes            or      ______ No

                   Parrott:                       ______ Yes            or      ______ No

                   ClassicStar:                   ______ Yes            or      ______ No

                   ClassicStar 2004:              ______ Yes            or      ______ No

                   CFI:                           ______ Yes            or      ______ No

                   ClassicStar Farms:             ______ Yes            or      ______ No

                   ClassicStar Thoroughbreds: ______ Yes                or      ______ No

                   Gastar:                        ______ Yes            or      ______ No

                   GeoStar:                       ______ Yes            or      ______ No

                   NELC:                          ______ Yes            or      ______ No

                   New NEL:                       ______ Yes            or      ______ No

                   Buffalo Ranch:                 ______ Yes            or      ______ No


           170
                 Guarantee Elec. Co. v. Big Rivers Elec. Corp., 669 F. Supp. 1371, 1380-81 (W.D. Ky.
  1987).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                     QUESTION NO. 114

         Do you find from a preponderance of the evidence that FEEP and MacDonald entered

  into a contractual relationship in which both FEEP and MacDonald understood and agreed that

  FEEP agreed to provide certain FEEP shares in exchange of MacDonald providing certain horse

  interests to FEEP and that FEEP breached this agreement?

                  FEEP:                ______ Yes            or   ______ No



                                ___________________________
                                 FOREPERSON (if unanimous)

  ____________________________________              ___________________________________

  ____________________________________              ___________________________________

  ____________________________________              ___________________________________

  ____________________________________              ___________________________________

  ____________________________________              ___________________________________

  ____________________________________              ___________________________________

                                   MEMBERS OF THE JURY
                                      (if not unanimous)




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                                     QUESTION NO. 115

         Do you find from a preponderance of the evidence that GeoStar knowingly and

  intentionally provided a guaranty in the FEEP Agreement between FEEP and MacDonald

  guaranteeing his put option?

              GeoStar:                    ______ Yes           or   ______ No



                                 ___________________________
                                  FOREPERSON (if unanimous)

  ____________________________________             ___________________________________

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  ____________________________________             ___________________________________

                                   MEMBERS OF THE JURY
                                      (if not unanimous)




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                                         QUESTION NO. 116

        Do you find from a preponderance of the evidence:

                (a)     That the FEEP units offered to MacDonald and the Grovers by FEEP were
        security interests;

               (b)   That the Defendants below each actively sought to offer, sale, or purchase
        the FEEP security interests, directly or indirectly, to MacDonald and the Grovers;

                (c)    That each Defendant listed below (1) sold the FEEP units as a device,
        scheme, or artifice to defraud; (2) sold the FEEP units to further an untrue statement of a
        material fact or to omit to state a material fact necessary in order to make the statements
        made, in light of the circumstances under which they were made, not misleading; or (3)
        sold the FEEP units to make an untrue statement of a material fact or to omit to state a
        material fact necessary in order to make the statements made, in light of the
        circumstances under which they were made, not misleading;

               (d)      That MacDonald and the Grovers did not know that the statements were
        untrue or that there was an omission of a statement of material fact; AND

               (e)     That MacDonald and the Grovers did not now know and in the exercise of
        reasonable care could not have known of the untrue statement or misleading omission.

        Answer as to each Defendant.171

                 FEEP:                        ______ Yes             or     ______ No

                 GeoStar:                     ______ Yes             or     ______ No

                 GEEI:                        ______ Yes             or     ______ No

                 Robinson:                    ______ Yes             or     ______ No

                 Ferguson:                    ______ Yes             or     ______ No

                 Plummer:                     ______ Yes             or     ______ No

                 Spencer:                     ______ Yes             or     ______ No

                 ClassicStar:                 ______ Yes             or     ______ No




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              Wis. Stat. § 551.501; Nev. Stat. § 90.570; 90.660; 17 C.F.R. § 240.10b-5.


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                     QUESTION NO. 117

         Do you find from a preponderance of the evidence that the Grovers and GFSC entered

  into a contractual relationship in which both the Grovers and GFSC understood that GFSC was

  obligated to pay the Grovers $3,796,707 on or before July 15, 2007 and that GFSC’s failure to

  make such payments was in breach of the contract?

                  GFSC:                ______ Yes            or     ______ No



                                ___________________________
                                 FOREPERSON (if unanimous)

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  ____________________________________                ___________________________________

  ____________________________________                ___________________________________

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  ____________________________________                ___________________________________

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                                  MEMBERS OF THE JURY
                                     (if not unanimous)




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                                     QUESTION NO. 118

         Do you find from a preponderance of the evidence that FEPP and the Grovers entered

  into a contractual relationship in which both FEEP and the Grovers understood and agreed that

  FEEP agreed to provide certain FEEP shares in exchange of the Grovers providing certain horse

  interests to FEEP and that FEEP breached this agreement?

                  FEEP:                ______ Yes            or     ______ No



                                ___________________________
                                 FOREPERSON (if unanimous)

  ____________________________________              ___________________________________

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  ____________________________________              ___________________________________

  ____________________________________              ___________________________________

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  ____________________________________              ___________________________________

                                   MEMBERS OF THE JURY
                                      (if not unanimous)




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                                     QUESTION NO. 119

         Do you find from a preponderance of the evidence that GeoStar knowingly and

  intentionally provided a guaranty in the FEEP Agreement between FEEP and the Grovers

  guaranteeing his put option?

              GeoStar:                    ______ Yes           or   ______ No



                                 ___________________________
                                  FOREPERSON (if unanimous)

  ____________________________________             ___________________________________

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                                   MEMBERS OF THE JURY
                                      (if not unanimous)




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                                         QUESTION NO. 120

         Any person who claims damages as a result of an alleged wrongful act on the part of

  another has a duty under the law to “mitigate” those damages – that is, to take advantage of any

  reasonable opportunity the person may have had under the circumstances to reduce or minimize

  the loss or damage. It was West Hills’ duty to exercise the ordinary care for its own interest

  expected of a reasonably prudent participant acting under similar circumstances. If you find for

  West Hills under the above questions, but are also satisfied from the evidence that West Hills

  failed to exercise ordinary care for their own interest and that such failure was a substantial

  factor in causing their loss, you will determine from the evidence and indicate in the following

  blank spaces what percentage of total fault was attributable to each of the parties as follows:172

        West Hills            ____________ %                 Plummer               ____________ %
        ClassicStar           ____________ %                 Spencer               ____________ %
     ClassicStar Farms        ____________ %        ClassicStar Thoroughbreds      ____________ %
     ClassicStar 2004         ____________ %                  KHSA                 ____________ %
           NELC               ____________ %                Robinson               ____________ %
         New NEL              ____________ %                  Parrott              ____________ %
          GeoStar             ____________ %                  FEEP                 ____________ %
           GEEI               ____________ %              Buffalo Ranch            ____________ %
         Ferguson             ____________ %          ClassicStar Powerfoal        ____________ %
           GFSC               ____________ %                    CFI                ____________ %
           Gastar             ____________ %


                                (Total percentages should equal 100%)




         172
                   O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 129.50,
  p. 481 (5th ed., Vol. 3, 2000).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                         QUESTION NO. 121

         Any person who claims damages as a result of an alleged wrongful act on the part of

  another has a duty under the law to “mitigate” those damages – that is, to take advantage of any

  reasonable opportunity the person may have had under the circumstances to reduce or minimize

  the loss or damage. It was Arbors’ duty to exercise the ordinary care for its own interest

  expected of a reasonably prudent participant acting under similar circumstances. If you find for

  Arbors under the above questions, but are also satisfied from the evidence that Arbors failed to

  exercise ordinary care for their own interest and that such failure was a substantial factor in

  causing their loss, you will determine from the evidence and indicate in the following blank

  spaces what percentage of total fault was attributable to each of the parties as follows:173

          Arbors               ____________ %                Plummer                ____________ %
        ClassicStar            ____________ %                Spencer                ____________ %
     ClassicStar Farms         ____________ %       ClassicStar Thoroughbreds       ____________ %
     ClassicStar 2004          ____________ %                 KHSA                  ____________ %
           NELC                ____________ %               Robinson                ____________ %
         New NEL               ____________ %                 Parrott               ____________ %
          GeoStar              ____________ %                 FEEP                  ____________ %
           GEEI                ____________ %             Buffalo Ranch             ____________ %
         Ferguson              ____________ %         ClassicStar Powerfoal         ____________ %
           GFSC                ____________ %                   CFI                 ____________ %
           Gastar              ____________ %


                                (Total percentages should equal 100%)




         173
                   O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 129.50,
  p. 481 (5th ed., Vol. 3, 2000).


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                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                         QUESTION NO. 122

         Any person who claims damages as a result of an alleged wrongful act on the part of

  another has a duty under the law to “mitigate” those damages – that is, to take advantage of any

  reasonable opportunity the person may have had under the circumstances to reduce or minimize

  the loss or damage. It was Nelson’s duty to exercise the ordinary care for its own interest

  expected of a reasonably prudent participant acting under similar circumstances. If you find for

  Nelson under the above questions, but are also satisfied from the evidence that Nelson failed to

  exercise ordinary care for their own interest and that such failure was a substantial factor in

  causing their loss, you will determine from the evidence and indicate in the following blank

  spaces what percentage of total fault was attributable to each of the parties as follows:174

          Nelson               ____________ %                Plummer                ____________ %
        ClassicStar            ____________ %                Spencer                ____________ %
     ClassicStar Farms         ____________ %       ClassicStar Thoroughbreds       ____________ %
     ClassicStar 2004          ____________ %                 KHSA                  ____________ %
           NELC                ____________ %               Robinson                ____________ %
         New NEL               ____________ %                 Parrott               ____________ %
          GeoStar              ____________ %                 FEEP                  ____________ %
           GEEI                ____________ %             Buffalo Ranch             ____________ %
         Ferguson              ____________ %         ClassicStar Powerfoal         ____________ %
           GFSC                ____________ %                   CFI                 ____________ %
           Gastar              ____________ %


                                (Total percentages should equal 100%)




         174
                   O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 129.50,
  p. 481 (5th ed., Vol. 3, 2000).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                         QUESTION NO. 123

         Any person who claims damages as a result of an alleged wrongful act on the part of

  another has a duty under the law to “mitigate” those damages – that is, to take advantage of any

  reasonable opportunity the person may have had under the circumstances to reduce or minimize

  the loss or damage. It was MacDonald’s duty to exercise the ordinary care for its own interest

  expected of a reasonably prudent participant acting under similar circumstances. If you find for

  MacDonald under the above questions, but are also satisfied from the evidence that MacDonald

  failed to exercise ordinary care for their own interest and that such failure was a substantial

  factor in causing their loss, you will determine from the evidence and indicate in the following

  blank spaces what percentage of total fault was attributable to each of the parties as follows:175

        MacDonald             ____________ %                 Plummer               ____________ %
        ClassicStar           ____________ %                 Spencer               ____________ %
     ClassicStar Farms        ____________ %        ClassicStar Thoroughbreds      ____________ %
     ClassicStar 2004         ____________ %                  KHSA                 ____________ %
           NELC               ____________ %                Robinson               ____________ %
         New NEL              ____________ %                  Parrott              ____________ %
          GeoStar             ____________ %                  FEEP                 ____________ %
           GEEI               ____________ %              Buffalo Ranch            ____________ %
         Ferguson             ____________ %          ClassicStar Powerfoal        ____________ %
           GFSC               ____________ %                    CFI                ____________ %
           Gastar             ____________ %


                                (Total percentages should equal 100%)




         175
                   O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 129.50,
  p. 481 (5th ed., Vol. 3, 2000).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                         QUESTION NO. 124

         Any person who claims damages as a result of an alleged wrongful act on the part of

  another has a duty under the law to “mitigate” those damages – that is, to take advantage of any

  reasonable opportunity the person may have had under the circumstances to reduce or minimize

  the loss or damage. It was the Grovers’ duty to exercise the ordinary care for its own interest

  expected of a reasonably prudent participant acting under similar circumstances. If you find for

  the Grovers under the above questions, but are also satisfied from the evidence that the Grovers

  failed to exercise ordinary care for their own interest and that such failure was a substantial

  factor in causing their loss, you will determine from the evidence and indicate in the following

  blank spaces what percentage of total fault was attributable to each of the parties as follows:176

       The Grovers            ____________ %                 Plummer               ____________ %
        ClassicStar           ____________ %                 Spencer               ____________ %
     ClassicStar Farms        ____________ %        ClassicStar Thoroughbreds      ____________ %
     ClassicStar 2004         ____________ %                  KHSA                 ____________ %
           NELC               ____________ %                Robinson               ____________ %
         New NEL              ____________ %                  Parrott              ____________ %
          GeoStar             ____________ %                  FEEP                 ____________ %
           GEEI               ____________ %              Buffalo Ranch            ____________ %
         Ferguson             ____________ %          ClassicStar Powerfoal        ____________ %
           GFSC               ____________ %                    CFI                ____________ %
           Gastar             ____________ %


                                (Total percentages should equal 100%)




         176
                   O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 129.50,
  p. 481 (5th ed., Vol. 3, 2000).


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                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

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  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

  ____________________________________         ___________________________________

                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                      QUESTION NO. 125

         Finally, you will determine from the evidence and award Plaintiffs such sum or sums of

  money that will fairly compensate them for the business losses suffered from their participation

  in the Mare Lease Program.

   West Hills:                  $_____________ (may be $0, but not to exceed $___________)

   Arbor:                       $_____________ (may be $0, but not to exceed $___________)

   Nelson:                      $_____________ (may be $0, but not to exceed $___________)

   MacDonald:                   $_____________ (may be $0, but not to exceed $___________)

   The Grovers:                 $_____________ (may be $0, but not to exceed $___________)



                                 ___________________________
                                  FOREPERSON (if unanimous)

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                                    MEMBERS OF THE JURY
                                       (if not unanimous)




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                                          QUESTION NO. 126

           Certain legal duties and responsibilities exist between the officers and directors of a

  company and the company which they manage. Included among those duties is the duty for the

  officer or director to disclose to the company such information that came to the officer or

  director during the course of the fiduciary relationship. Do you find from a preponderance of the

  evidence that Spencer gained information concerning the business operations of ClassicStar, CFI

  and/or GeoStar and that Spencer failed to disclose or reveal to ClassicStar, CFI and/or GeoStar

  the information that was gained?177

                   Spencer:                    ______ Yes          or     ______ No

                                    ___________________________
                                     FOREPERSON (if unanimous)

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                                       MEMBERS OF THE JURY
                                          (if not unanimous)




           177
                 Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 1.04, p 1-09 (2d ed.,
  2011).


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                                          QUESTION NO. 127

           Certain legal duties and responsibilities exist between the officers and directors of a

  company and the company which they manage. Included among those duties is the duty for the

  officer or director not to compete in business on matters that are part of the fiduciary relationship

  that exists between the parties. The law, however, does recognize an exception to this rule. The

  law will allow a fiduciary to compete with the other party to the fiduciary relationship, if the

  other party knew there was going to be competition, or through the course of dealings, the fats

  indicate that the other party knew of the competition. Do you find from a preponderance of the

  evidence that Spencer breached this duty to ClassicStar, CFI and/or GeoStar, and that the

  exceptions did not apply?178

                   Spencer:                    ______ Yes             or     ______ No



                                    ___________________________
                                     FOREPERSON (if unanimous)

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  ____________________________________                  ___________________________________

  ____________________________________                  ___________________________________

                                       MEMBERS OF THE JURY
                                          (if not unanimous)




           178
                 Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 1.06, p 1-12 (2d ed.,
  2011).


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                                          QUESTION NO. 128

           Certain legal duties and responsibilities exist between the officers and directors of a

  company and the company which they manage. Included among those duties is the duty for the

  officer or director is not to misuse funds or property of the company. If Spencer received funds,

  property and/or securities from ClassicStar, CFI and/or GeoStar with instructions from those

  companies as to how those funds, property and/or securities were to be used, then Spencer had a

  duty to follow the instructions that were given. If Spencer used the funds, property and/or

  securities for some purpose other than the purposes identified in the instructions, then Spencer

  breach the duty owed to ClassicStar, CFI and/or GeoStar. Do you find from a preponderance of

  the evidence that Spencer breached this duty to ClassicStar, CFI and/or GeoStar?179

                   Spencer:                    ______ Yes          or      ______ No



                                    ___________________________
                                     FOREPERSON (if unanimous)

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  ____________________________________                  ___________________________________

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  ____________________________________                  ___________________________________

                                       MEMBERS OF THE JURY
                                          (if not unanimous)




           179
                 Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 1.07, p 1-12 (2d ed.,
  2011).


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                                          QUESTION NO. 129

           Certain legal duties and responsibilities exist between the officers and directors of a

  company and the company which they manage. Included among those duties is the duty for the

  officer or director not to compete in business on matters that are part of the fiduciary relationship

  that exists between the parties. The law, however, does recognize an exception to this rule. The

  law will allow a fiduciary to compete with the other party to the fiduciary relationship, if the

  other party knew there was going to be competition, or through the course of dealings, the fats

  indicate that the other party knew of the competition. Do you find from a preponderance of the

  evidence that Plummer breached this duty to ClassicStar, CFI and/or GeoStar, and that the

  exceptions did not apply?180

                   Plummer:                    ______ Yes             or     ______ No



                                    ___________________________
                                     FOREPERSON (if unanimous)

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  ____________________________________                  ___________________________________

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  ____________________________________                  ___________________________________

  ____________________________________                  ___________________________________

                                       MEMBERS OF THE JURY
                                          (if not unanimous)




           180
                 Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 1.06, p 1-12 (2d ed.,
  2011).


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                                          QUESTION NO. 130

           Certain legal duties and responsibilities exist between the officers and directors of a

  company and the company which they manage. Included among those duties is the duty for the

  officer or director is not to misuse funds or property of the company. If Plummer received funds,

  property and/or securities from ClassicStar, CFI and/or GeoStar with instructions from those

  companies as to how those funds, property and/or securities were to be used, then Plummer had a

  duty to follow the instructions that were given. If Plummer used the funds, property and/or

  securities for some purpose other than the purposes identified in the instructions, then Plummer

  breach the duty owed to ClassicStar, CFI and/or GeoStar. Do you find from a preponderance of

  the evidence that Plummer breached this duty to ClassicStar, CFI and/or GeoStar?181

                   Plummer:                    ______ Yes          or     ______ No



                                    ___________________________
                                     FOREPERSON (if unanimous)

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  ____________________________________                  ___________________________________

                                       MEMBERS OF THE JURY
                                          (if not unanimous)




           181
                 Ronald Eades, JURY INSTRUCTIONS IN COMMERCIAL LITIGATION § 1.07, p 1-12 (2d ed.,
  2011).


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                                         QUESTION NO. 131

         Do you find from a preponderance of the evidence:

                 (a)  That in the course of marketing and operating the Mare Lease Program,
         Plummer and Spencer each made the material representation that they, as agents of
         Buffalo Ranch, had sufficient quarter horses to meet Buffalo Ranch’s obligations to
         ClassicStar;

                (b)       That this material representation was false;

               (c)      That Plummer and Spencer made this material representation recklessly or
         knowing it to be false;

                 (d)     That Plummer and Spencer made this material representation with the
         intent to induce ClassicStar and GeoStar to take such action;

                (e)      That ClassicStar and GeoStar justifiably relied upon the material
         representation to their detriment; AND

               (f)     That the material representation by Plummer and Spencer was the
         proximate cause of the injury to ClassicStar and GeoStar?

         Answer as to each Defendant.182

               Plummer:                        ______ Yes                or   ______ No

               Spencer:                        ______ Yes                or   ______ No




         182
            O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
  333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
  468 (Ky. 1999).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                         QUESTION NO. 132

         Do you find from a preponderance of the evidence:

                (a)    That in the course of marketing and operating the Mare Lease Program,
         Plummer and Spencer each made the material representation that they were entitled to
         commissions based upon the alleged quarter horse pairings which ClassicStar and
         GeoStar believes were to be bred to meet Buffalo Ranch’s obligations to ClassicStar;

                (b)       That this material representation was false;

               (c)      That Plummer and Spencer made this material representation recklessly or
         knowing it to be false;

                 (d)     That Plummer and Spencer made this material representation with the
         intent to induce ClassicStar and GeoStar to take such action;

                (e)      That ClassicStar and GeoStar justifiably relied upon the material
         representation to their detriment; AND

               (f)     That the material representation by Plummer and Spencer was the
         proximate cause of the injury to ClassicStar and GeoStar?

         Answer as to each Defendant.183

               Plummer:                        ______ Yes                or   ______ No

               Spencer:                        ______ Yes                or   ______ No




         183
            O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 123.02, pp.
  333-344 (5th ed., Vol. 3, 2000). See also United Parcel Service Co. v. Rickert, 996 S.W.2d 464,
  468 (Ky. 1999).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                        QUESTION NO. 133

         Do you find from a preponderance of the evidence that GeoStar and CFI entered into a

  contractual relationship in which Spencer and each of the parties understood that Plummer was

  obligated to use his best efforts to promote the interests and profitability of GeoStar and CFI and

  that his efforts to usurp corporate opportunities of CFI and GeoStar to benefit Spencer’s own

  companies was a breach of that contract?

           Spencer:                              ______ Yes             or      ______ No



                                  ___________________________
                                   FOREPERSON (if unanimous)

  ____________________________________                 ___________________________________

  ____________________________________                 ___________________________________

  ____________________________________                 ___________________________________

  ____________________________________                 ___________________________________

  ____________________________________                 ___________________________________

  ____________________________________                 ___________________________________

                                     MEMBERS OF THE JURY
                                        (if not unanimous)




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                                       QUESTION NO. 134

         Do you find from a preponderance of the evidence that GeoStar and CFI entered into a

  contractual relationship in which Plummer and each of the parties understood that the Plummer

  represented that he acted in good faith in dealing with GeoStar and CFI and that Plummer’s

  actions to misuse corporate funds for his own benefit was a breach of that contract?

           Plummer:                              ______ Yes            or      ______ No



                                  ___________________________
                                   FOREPERSON (if unanimous)

  ____________________________________                 ___________________________________

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                                    MEMBERS OF THE JURY
                                       (if not unanimous)




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                                           QUESTION NO. 135

           Do you find from a preponderance of the evidence:

                   (a)     That a benefit was conferred upon each Defendant below at the expense of
           ClassicStar and GeoStar when they obtained payment based upon ClassicStar’s total
           alleges sales, as represented to GeoStar;

                      (b)   That each party below realized an appreciation from that benefit; AND

                      (c)   That each party’s retention of the benefit would be inequitable.

           Answer as to each Defendant.184

                 Plummer:                           ______ Yes             or      ______ No

                 Spencer:                           ______ Yes             or      ______ No

                 Buffalo Ranch:                     ______ Yes             or      ______ No



                                     ___________________________
                                      FOREPERSON (if unanimous)

  ____________________________________                    ___________________________________

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  ____________________________________                    ___________________________________

  ____________________________________                    ___________________________________

  ____________________________________                    ___________________________________

  ____________________________________                    ___________________________________

                                        MEMBERS OF THE JURY
                                           (if not unanimous)




           184
                 Guarantee Elec. Co. v. Big Rivers Elec. Corp., 669 F. Supp. 1371, 1380-81 (W.D. Ky.
  1987).


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                                       QUESTION NO. 136

        Do you find from a preponderance of the evidence:

               (a)    That each Defendant listed below committed a tortious act in concert with
        the another Defendant pursuant to a common design among the parties;

                (b)    That each Defendant listed below knew that the co-conspirator’s conduct
        constituted a breach of duty and gave substantial assistance or encouragement to the other
        so to conduct themselves; OR

               (c)     That each Defendant gave substantial assistance to the co-conspirator in
        accomplishing a tortious result and their own conduct separately considered, constitutes a
        breach of duty to ClassicStar, CFI and/or GeoStar.

        Answer as to each Defendant.185

                Plummer:                     ______ Yes           or     ______ No

                Spencer:                     ______ Yes           or     ______ No

                Buffalo Ranch:               ______ Yes           or     ______ No

                NELC:                        ______ Yes           or     ______ No

                New NEL:                     ______ Yes           or     ______ No

                Zeus:                        ______ Yes           or     ______ No




        185
              James v. Wilson, 95 S.W.3d 875 (Ky. App. 2002).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                          QUESTION NO. 137

          Any person who claims damages as a result of an alleged wrongful act on the part of

  another has a duty under the law to “mitigate” those damages – that is, to take advantage of any

  reasonable opportunity the person may have had under the circumstances to reduce or minimize

  the loss or damage. It was CFI’s duty to exercise the ordinary care for its own interest expected

  of a reasonably prudent company acting under similar circumstances. If you find for CFI under

  the above questions, but are also satisfied from the evidence that CFI failed to exercise ordinary

  care for their own interest and that such failure was a substantial factor in causing their loss, you

  will determine from the evidence and indicate in the following blank spaces what percentage of

  total fault was attributable to each of the parties as follows:186

            CFI                ____________ %               Buffalo Ranch          ____________ %
          Plummer              ____________ %                   Zeus               ____________ %
          Spencer              ____________ %


                                 (Total percentages should equal 100%)




          186
                   O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 129.50,
  p. 481 (5th ed., Vol. 3, 2000).


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                           ___________________________
                            FOREPERSON (if unanimous)

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  ____________________________________         ___________________________________

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                         QUESTION NO. 138

         Any person who claims damages as a result of an alleged wrongful act on the part of

  another has a duty under the law to “mitigate” those damages – that is, to take advantage of any

  reasonable opportunity the person may have had under the circumstances to reduce or minimize

  the loss or damage. It was GeoStar’s duty to exercise the ordinary care for its own interest

  expected of a reasonably prudent company acting under similar circumstances. If you find for

  GeoStar under the above questions, but are also satisfied from the evidence that GeoStar failed to

  exercise ordinary care for their own interest and that such failure was a substantial factor in

  causing their loss, you will determine from the evidence and indicate in the following blank

  spaces what percentage of total fault was attributable to each of the parties as follows:187

          GeoStar              ____________ %              Buffalo Ranch            ____________ %
          Plummer              ____________ %                  Zeus                 ____________ %
          Spencer              ____________ %


                                (Total percentages should equal 100%)




         187
                   O’Malley, Grenig & Lee, FEDERAL JURY PRACTICE AND INSTRUCTIONS § 129.50,
  p. 481 (5th ed., Vol. 3, 2000).


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                           ___________________________
                            FOREPERSON (if unanimous)

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                              MEMBERS OF THE JURY
                                 (if not unanimous)




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                                      QUESTION NO. 139

          Finally, you will determine from the evidence and award CFI and GeoStar such sum or

  sums of money that will fairly compensate them for the business losses suffered in connection

  with the Mare Lease Program.

   CFI:                          $_____________ (may be $0, but not to exceed $___________)

   GeoStar:                      $_____________ (may be $0, but not to exceed $___________)



                                 ___________________________
                                  FOREPERSON (if unanimous)

  ____________________________________              ___________________________________

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  ____________________________________              ___________________________________

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                                   MEMBERS OF THE JURY
                                      (if not unanimous)




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                                 CERTIFICATE OF SERVICE

          I hereby certify that I electronically filed the foregoing document through the CM/ECF
  system on March 17, 2011, which will send a notice of electronic filing to the following counsel
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